EXHIBIT 5
                                          Kamykowski & Taylor, P.C.
                                          222 S. Central Ave., Suite 1100
                                             Clayton, Missouri 63105
                                              Phone: 314.665.3280



        Betz v. Bearden                                                            Invoice Date:   May 10, 2022
        For Services rendered between
        June 5, 2018 – January 20, 2021

Item               Date           Description                               hrs.        Rate         Total        Billed
                                                                                                                  By
Review/analyze     12/2/2019      Review Amended Scheduling Order.          0.1         $150.00     $15.00        ENR

TOTAL                                                                       0.1                     $15.00        ENR

Communicate        1/20/2021      Correspondences with all counsel          0.2         $375.00     $75.00        JCS
(other outside                    regarding depositions of Leslie Carsey,
counsel)                          Aaron York and Carrie Pfeifer.

Review/analyze     1/5/2021       Receive and review Order establishing     0.1        $375.00      $37.50        JCS
                                  new discovery and dispositive motion
                                  deadlines.
Communicate        12/31/2020     Correspondences with co-counsel           0.1        $375.00      $37.50        JCS
(other external)                  regarding Motion to Continue
                                  Scheduling Deadline.
Communicate        12/31/2020     Correspondences with all counsel          0.1        $375.00      $37.50        JCS
(other outside                    regarding discovery deadlines,
counsel)                          specifically depositions and
                                  whereabouts of same.
Communicate        12/29/2020     Correspondences with all counsel          0.1        $375.00      $37.50        JCS
(other outside                    regarding Court Order denying
counsel)                          continuance of deadlines, generally,
                                  and plan for discovery, specifically,
                                  depositions moving forward including
                                  taking them virtually and deadlines for
                                  same.
Communicate        12/29/2020     Correspondences with co-counsel           0.1        $375.00      $37.50        JCS
(other outside                    regarding plan for depositions, who to
counsel)                          produce, who to request, how to
                                  produce/take them (virtually v. in
                                  person) and timeframe of same.
Item               Date         Description                                  hrs.   Rate      Total     Billed
                                                                                                        By
Draft/revise       12/21/2020   Continue to prepare Joint Motion to          0.2    $375.00   $75.00    JCS
                                Continue Generally the Discovery
                                Deadline, Dispositive Motion
                                Deadline, and Daubert Motion
                                Deadline
Communicate        9/9/2020     Continue to prepare email to defense         0.1    $375.00   $37.50    JCS
(other external)                counsel regarding party and fact
                                witness depositions.
Communicate        9/4/2020     Telephone conference with all co-            0.2    $375.00   $75.00    JCS
(other external)                counsel regarding case status.

Communicate        9/2/2020     Correspondence with co-counsel to            0.1    $375.00   $37.50    JCS
(other external)                schedule conference call.

Communicate        8/26/2020    Correspondence with co-counsel               0.1    $375.00   $37.50    JCS
(other external)                regarding Plaintiff's initial discovery to
                                serve on Defendants.
Draft/revise       8/25/2020    Continue to prepare discovery                0.2    $375.00   $75.00    JCS
                                directed to Defendant Bearden.

Communicate        7/16/2020    Receive and review correspondence            0.1    $375.00   $37.50    JCS
(other external)                from M. Pennycuff regarding phone
                                records to be produced.
Review/analyze     6/19/2020    Receive and review docket entry              0.2    $375.00   $75.00    JCS
                                entering Amended Scheduling Order
                                and calendar dates as-needed.

Communicate        6/15/2020    Correspondence with Ms. McIlvaine,           0.1    $375.00   $37.50    JCS
(other external)                Judge Phillip’s deputy, to send her
                                copy of Second Amended Scheduling
                                Order for entry pursuant to docket
                                entry.
Draft/revise       6/11/2020    Prepare Motion for Entry of Joint            0.3    $375.00   $112.50   JCS
                                Second Amended Scheduling Order in
                                Consolidated Cases
Draft/revise       6/11/2020    Finalize Joint Second Amended                0.2    $375.00   $75.00    JCS
                                Scheduling Order in Consolidated
                                Cases
Draft/revise       6/1/2020     Continue to prepare second amended           0.1    $375.00   $37.50    JCS
                                joint scheduling order.

Communicate        6/1/2020     Continued correspondence with                0.1    $375.00   $37.50    JCS
(other outside                  Defense counsel regarding second
counsel)                        amended joint scheduling order.
Item               Date        Description                               hrs.   Rate      Total     Billed
                                                                                                    By
Draft/revise       5/29/2020   Draft second amended scheduling           0.2    $375.00   $75.00    JCS
                               order given COVID limitations and
                               delays.
Communicate        5/26/2020   Correspondence to Defense Counsel         0.2    $375.00   $75.00    JCS
(other outside                 regarding status of case, need for
counsel)                       amended Scheduling Order, Expert
                               discovery and party discovery.

Review/analyze     5/19/2020   Review Interrogatories directed to        0.3    $375.00   $112.50   JCS
                               Defendant Bearden drafted by J.
                               Ammann; Evaluate how to serve in all
                               cases and suggest additional discovery
                               to serve; Correspondence with co-
                               counsel regarding same.

Communicate        5/15/2020   Correspondence with co-counsel            0.2    $375.00   $75.00    JCS
(other external)               regarding Scheduling Order and need
                               of new timeline of case.

Review/analyze     5/1/2020    Review, revise and continue to update     0.3    $375.00   $112.50   JCS
                               information regarding fact witnesses
                               and their whereabouts for purposes of
                               responding to N. Taulbee's request for
                               depositions of same.

Review/analyze     5/1/2020    Continue to review files, specifically    0.4    $375.00   $150.00   JCS
                               pleadings, Rule 26 disclosures to
                               identify witnesses for all parties, and
                               documents produced by DOC to
                               continue to analyze same.
Communicate        4/27/2020   Correspondence with C. Atwell             0.1    $375.00   $37.50    JCS
(other external)               regarding mediation invoice received
                               to inquire about same as I thought it
                               had been paid by co-counsel J.
                               Ammann.

Communicate        4/27/2020   Correspondence with co-counsel            0.1    $375.00   $37.50    JCS
(other outside                 regarding fact witness discovery.
counsel)
Communicate        4/22/2020   Correspondence with co-counsel, J.        0.1    $375.00   $37.50    JCS
(other outside                 Ammann regarding discovery to serve
counsel)                       on Defendant Bearden.

Communicate        4/7/2020    Correspondences with all counsel          0.2    $375.00   $75.00    JCS
(other outside                 regarding witness depositions.
counsel)
Item               Date        Description                               hrs.   Rate      Total     Billed
                                                                                                    By
Communicate        3/2/2020    Correspondence with all counsel           0.1    $375.00   $37.50    JCS
(other outside                 regarding discovery, specifically
counsel)                       Plaintiff’s objections, answers and
                               responses and regarding requested
                               DOC depositions.
Research           2/17/2020   Research lay witness contact              0.1    $375.00   $37.50    JCS
                               information.
Communicate        2/12/2020   Conference call with S. McGraugh and      0.2    $375.00   $75.00    JCS
(other external)               her clinic students regarding offender-
                               witness project, specifically regarding
                               our needs of information, i.e., if they
                               are incarcerated or not currently and
                               what their contact information is if
                               they have been released.
Appear             2/6/2020    Attend lunch meeting with co-counsel      0.7    $375.00   $262.50   JCS
for/attend                     and Dora Schriro.

Draft/revise       2/5/2020    Prepare discovery scheduling order        0.1    $375.00   $37.50    JCS
                               and correspondences with co-counsel
                               regarding filing same.

Review/analyze     2/5/2020    Review file and notes to continue to      0.3    $375.00   $112.50   JCS
                               update and create deposition list and
                               send/receive correspondences
                               between/among co-counsel regarding
                               strategy for same.

Review/analyze     1/31/2020   Receive and review HIPAA release     0.1         $375.00   $37.50    JCS
                               from Defendant Bearden for execution
                               by Plaintiff.

Review/analyze     1/30/2020   Receive and review Defendant              0.2    $375.00   $75.00    JCS
                               Bearden’s First Interrogatories and
                               First Request for Production directed
                               to Plaintiff.
Communicate        1/27/2020   Exchange email correspondence with        0.1    $375.00   $37.50    JCS
(other outside                 all counsel regarding status reports.
counsel)
Review/analyze     1/24/2020   Receive and review Orders                 0.1    $375.00   $37.50    JCS
                               consolidating cases and reassigning
                               case to Judge Phillips.
Item               Date         Description                              hrs.   Rate      Total    Billed
                                                                                                   By
Communicate        1/20/2020    Correspondence with co-counsel           0.1    $375.00   $37.50   JCS
(in firm)                       regarding upcoming deadlines and no
                                ruling on pending motion to
                                consolidate.
Review/analyze     1/10/2020    Receive and review Department of         0.2    $375.00   $75.00   JCS
                                Corrections response to subpoena.

Communicate        1/8/2020     Correspondence with all counsel          0.1    $375.00   $37.50   JCS
(other outside                  regarding consolidating case.
counsel)
Appear             1/7/2020     Attend meeting with all co-counsel       0.2    $375.00   $75.00   JCS
for/attend                      regarding case status and strategy.

Communicate        1/6/2020     Correspondences among Plaintiff’s        0.1    $375.00   $37.50   JCS
(other outside                  counsel regarding Motion to
counsel)                        Consolidate.
Communicate        1/6/2020     Correspondences among Plaintiff’s        0.1    $375.00   $37.50   JCS
(other outside                  counsel regarding fees and expenses
counsel)                        incurred to date and anticipated to be
                                incurred in the future and procedure
                                in place for same.
Document           12/13/2019   Receive, review and process to file      0.1    $375.00   $37.50   JCS
Production/                     final (produced) expert reports.
Creation/
Preparation
Communicate        12/12/2019   Receive and review Judge Atwell's        0.1    $375.00   $37.50   JCS
(other external)                post-mediation report sent to Jill
                                Morris.
Communicate        12/12/2019   Correspondence with all counsel          0.1    $375.00   $37.50   JCS
(other outside                  regarding consolidating pending cases
counsel)                        for purposes of discovery.

Communicate        12/10/2019   Correspondence with all counsel          0.1    $375.00   $37.50   JCS
(other outside                  regarding consolidating pending cases
counsel)                        for discovery.

Communicate        12/9/2019    Correspondence with K. Batcheller,       0.2    $375.00   $75.00   JCS
(other external)                Judge Atwell's assistant, regarding
                                post-mediation status report;
                                Correspondence with all counsel
                                regarding same.
Review/analyze     12/6/2019    Review expert report from Dora.          0.2    $375.00   $75.00   JCS
Item             Date         Description                              hrs.   Rate      Total       Billed
                                                                                                    By
Communicate      12/3/2019    Review materials and attend              0.4    $375.00   $150.00     JCS
(other outside                conference call with all co-counsel to
counsel)                      discuss strategy and to-dos.

Appear           11/26/2019   Attend Mediation with Judge Atwell.      4      $375.00   $1,500.00   JCS
for/attend
Communicate      11/25/2019   Receive and review email                 0.1    $375.00   $37.50      JCS
(other outside                correspondence from Mr. Taulbee
counsel)                      regarding protective order.
Review/analyze   11/25/2019   Receive and review Amended               0.1    $375.00   $37.50      JCS
                              Scheduling Order.

Communicate      11/22/2019   Correspondence with all counsel          0.2    $375.00   $75.00      JCS
(other outside                regarding mediation specifics such as
counsel)                      attendees, position regarding opening
                              statements and request to not have
                              any interaction between Plaintiff and
                              Defendants.
Communicate      11/18/2019   Correspondence with team regarding       0.2    $375.00   $75.00      JCS
(other outside                mediation statement and travel plans
counsel)                      to attend November 26th mediation.

Communicate      11/7/2019    Correspondence with J. Ammann to         0.1    $375.00   $37.50      JCS
(other outside                prepare language for Subpoena on
counsel)                      Corizon.
Appear           11/4/2019    Attend Pre-Mediation Call with Judge     0.3    $375.00   $112.50     JCS
for/attend                    Atwell.
Time             10/9/2019    Continue to prepare subpoena to          0.1    $375.00   $37.50      JCS
                              DOC.
Time             10/8/2019    Receive and review correspondence        0.2    $375.00   $75.00      JCS
                              from mediator regarding mediation
                              to-dos.

Time             9/30/2019    Evaluate need to amend pleadings         0.2    $375.00   $75.00      JCS
                              and/or add additional parties.
Time             9/18/2019    Receive and review Mediation and         0.1    $375.00   $37.50      JCS
                              Assessment Program Reminder that
                              the post-mediation status report is
                              due within 10 calendar days after the
                              mediation.
Time             9/17/2019    Finalize and file updated designation    0.1    $375.00   $37.50      JCS
                              of mediator form.
Item   Date        Description                               hrs.   Rate      Total     Billed
                                                                                        By
Time   9/12/2019   Prepare Joint Designation of Mediator     0.3    $375.00   $112.50   JCS
                   forms and circulate to N. Taulbee,
                   counsel for E. Bearden, to get his
                   approval before filing by September
                   13, 2019 deadline.
Time   9/5/2019    Correspondences with all counsel to       0.2    $375.00   $75.00    JCS
                   schedule mediation.
Time   9/3/2019    Review subpoena for DOC and send          0.2    $375.00   $75.00    JCS
                   correspondence to team regarding
                   same and to discuss mediation and
                   consolidating discovery.
Time   8/28/2019   Meet with team to discuss case to-        0.3    $375.00   $112.50   JCS
                   dos.
Time   8/23/2019   Correspondence with all attorneys         0.2    $375.00   $75.00    JCS
                   regarding mediation and mediator;
                   Correspondence with Plaintiff’s
                   attorneys regarding mediation
                   coverage (.1); Continue to prepare
                   initial disclosures (.1).
Time   8/16/2019   Receive and review correspondence         0.2    $375.00   $75.00    JCS
                   from Jill Morris, MAP direction,
                   regarding mediator designation and
                   mediation deadline and calendar
                   same.
Time   7/29/2019   Continue to prepare scheduling order      0.3    $375.00   $112.50   JCS
                   and send/receive several
                   correspondences among counsel of
                   record regarding same.

Time   6/26/2019   Continued correspondences with            0.1    $375.00   $37.50    JCS
                   counsel of record regarding lifting the
                   stay.
Time   6/24/2019   Review Proposed Motion to Lift Stay;      0.1    $375.00   $37.50    JCS
                   Correspondence with Plaintiff's team
                   regarding same.

Time   4/29/2019   Receive and Review Order Granting         0.1    $375.00   $37.50    JCS
                   Joint Motion to Extend Stay until July
                   1, 2019.
Time   4/26/2019   Receive and review filed Joint Motion     0.1    $375.00   $37.50    JCS
                   to Extend Stay.
Item             Date         Description                               hrs.   Rate      Total       Billed
                                                                                                     By
Time             4/25/2019    Correspondences with all counsel of       0.2    $375.00   $75.00      JCS
                              record regarding extension of stay of
                              proceedings.

Time             4/24/2019    Correspondence with Plaintiffs’           0.1    $375.00   $37.50      JCS
                              counsel regarding continued stay;
                              Review and review Joint Motion for
                              Continued Stay.
Time             2/26/2019    Receive and review Court Order            0.3    $375.00   $112.50     JCS
                              staying case; Correspondence with J.
                              Morris to inform her the case is stayed
                              until May 1, 2019, including all
                              mediation deadlines/events.

Time             2/22/2019    Receive and review notice of filing       0.1    $375.00   $37.50      JCS
                              from Court regarding mediation
                              deadlines approaching.
Time             2/14/2019    Receive and review Rule 16 Order          0.4    $375.00   $150.00     JCS
                              from Court.
Time             2/8/2019     Prepare Joint Motion for Stay.            0.3    $375.00   $112.50     JCS
Time             12/10/2018   Telephone conference call with J.         0.5    $375.00   $187.50     JCS
                              Ammann, B. Rodieger, and S.
                              McGraugh regarding cases, including
                              to-dos and fees.
Time             6/5/2018     Review and revise complaint;              0.9    $375.00   $337.50     JCS
                              Correspondence with J. Ammann
                              regarding allegations and case moving
                              forward; Review release; Review news
                              coverage on Betz' story already.
TOTAL                                                                   19.4             $7,275.00   JCS

Time             7/31/2019    Review Scheduling Order.                  0.1    $150.00   $15.00      KAR
TOTAL                                                                   0.1              $15.00      KAR

Review/analyze   4/30/2020    Review pleadings and discovery in         0.7    $425.00   $297.50     RJG
                              preparation for strategy conference
                              with J. Snow.
Review/analyze   4/29/2020    Review and analyze additional             0.3    $425.00   $127.50     RJG
                              document production by the
                              Department of Corrections.
Item               Date         Description                               hrs.   Rate      Total     Billed
                                                                                                     By
Review/analyze     3/30/2020    Initial receipt and review of             0.8    $425.00   $340.00   RJG
                                documents produced by Missouri
                                Department of Corrections.
Appear             2/6/2020     Attend lunch meeting with co-counsel      0.7    $425.00   $297.50   RJG
for/attend                      and Dora Schriro.

Communicate        1/27/2020    Exchange email correspondence with        0.2    $425.00   $85.00    RJG
(other external)                all counsel regarding status reports.

Review/analyze     1/24/2020    Receive and review order granting         0.1    $425.00   $42.50    RJG
                                Motion to Consolidate.
Review/analyze     1/10/2020    Receive and review Department of          0.2    $425.00   $85.00    RJG
                                Corrections response to subpoena.

Plan and           1/7/2020     Review file in preparation for            0.2    $425.00   $85.00    RJG
prepare for                     conference call with all counsel.

Appear             1/7/2020     Attend meeting with all co-counsel        0.2    $425.00   $85.00    RJG
for/attend                      regarding case status and strategy.

Communicate        1/5/2020     Receive and review email                  0.1    $425.00   $42.50    RJG
(other external)                correspondence from Mr. Ammann
                                regarding proposed fee agreements.

Review/analyze     12/12/2019   Review final drafts of expert reports.    0.4    $425.00   $170.00   RJG

Review/analyze     12/4/2019    Review and analyze draft report of        0.2    $425.00   $85.00    RJG
                                Dora Schriro.
Review/analyze     11/27/2019   Review and analyze draft expert           0.2    $425.00   $85.00    RJG
                                report.
Communicate        11/25/2019   Receive and review email                  0.1    $425.00   $42.50    RJG
(other external)                correspondence from Mr. Taulbee
                                regarding protective order.
Review/analyze     11/25/2019   Receive and review amended                0.1    $425.00   $42.50    RJG
                                scheduling order.

Time               7/29/2019    Exchange email correspondence with        0.2    $425.00   $85.00    RJG
                                all counsel regarding scheduling order.
Time               12/26/2018   Receive and review email                  0.1    $425.00   $42.50    RJG
                                correspondence from Ms. McGraugh
                                regarding DOJ interviews.
Time               8/13/2018    Receive and review Answer of Edward       0.2    $425.00   $85.00    RJG
                                Bearden.
Item          Date        Description                          hrs.    Rate      Total        Billed
                                                                                              By
Time          7/17/2018   Telephone conference with Leslie     0.5     $425.00   $212.50      RJG
                          Carsey regarding potential client
                          interviews; Exchange email
                          correspondence with John Amann and
                          other counsel regarding same.

Time          6/14/2018   Review client fee agreement.         0.2     $425.00   $85.00       RJG
TOTAL                                                          5.7               $2,422.50    RJG

GRAND TOTAL                                                    25.30             $19,455.00
Law Office of Joan M. Swartz                                                     Law Office of Joan M. Swartz
3348 Greenwood Blvd.
St. Louis, MO 63143
United States
(314) 471-2032




SLU Law Clinic Cases                                                                       Balance       $19,179.39
                                                                                           Invoice #     00695
                                                                                           Invoice Date  May 10, 2022
                                                                                           Payment Terms
                                                                                           Due Date




Betz v. Bearden

Time Entries

Date         EE    Activity           Description                                                Rate   Hours   Line Total
02/03/2021   JCS   Draft Documents    Prepare Notice of Change of Address                     $375.00     0.2     $75.00
                                      Various correspondences with all counsel
02/03/2021   JCS   Correspondence                                                             $375.00     0.2     $75.00
                                      regarding upcoming party and witness depositions.
                                      Telephone correspondence with co-counsel to
02/08/2021   JCS   Correspondence     discuss deposition testimony, upcoming                  $375.00     0.2     $75.00
                                      depositions and case theories moving forward.
                   Confer with co-    Correspondences with co-counsel regarding
02/18/2021   JCS   counsel                                                                    $375.00     0.1     $37.50
                                      upcoming depositions.

                   Confer with co-    Telephone conference call with J. Ammann to
02/25/2021   JCS                                                                              $375.00     0.1     $37.50
                   counsel            catch up on depositions in all cases.
                   Confer with        Continued correspondences with all counsel
03/05/2021   JCS                                                                              $375.00     0.1     $37.50
                   opposing counsel   regarding depositions.

                                      Continued correspondences with all counsel
03/12/2021   JCS   Correspondence                                                             $375.00     0.1     $37.50
                                      regarding party depositions.
                                      Correspondences with team and with defense
                                      counsel regarding reopening settlement
                                      negotiations before 20+ more depositions and trial
03/15/2021   JCS   Correspondence                                                             $375.00     0.5    $187.50
                                      prep occurs; Correspondences with co-counsel
                                      regarding upcoming depositions and strategy for
                                      same.

                   Draft
03/15/2021   JCS                      Continue to prepare supplemental disclosures.           $375.00     0.1     $37.50
                   Correspondence
                                      Phone conference with J. Ammann and B.
                   Confer with co-
03/24/2021   JCS                      Roediger to discuss settlement, specifically            $375.00     0.2     $75.00
                   counsel
                                      demand amounts and strategy for making same.

03/28/2021   JCS   Correspondence     Make demand via email to defense counsel.               $375.00     0.2     $75.00
                   Confer with co-    Correspondence with co-counsel re: discussions
03/31/2021   JCS                                                                              $375.00     0.1     $37.50
                   counsel            with Defense Counsel relating to settlement.
                                      Continued correspondences with co-counsel
                   Confer with co-
04/01/2021   JCS                      regarding settlement negotiations and                 $375.00   0.1    $37.50
                   counsel
                                      supplemental disclosures.
                   Confer with        Correspondence with P. Brown and N. Taublee to
04/02/2021   JCS                                                                            $375.00   0.1    $37.50
                   opposing counsel   schedule April 6th mediation.

                                      Correspondences with co-counsel regarding
                                      mediation, specifically our position re: mediator,
                   Confer with co-
04/02/2021   JCS                      value of each case, and to-do's between now and       $375.00   0.3   $112.50
                   counsel
                                      mediation including mediation statement to prepare
                                      and calls to clients to make.

                                      Continue to prepare Plaintiffs' Joint Mediation
04/04/2021   JCS   Draft Documents    Statement; Correspondences with co-counsel            $375.00   0.2    $75.00
                                      regarding same.

                   Confer with        Correspondences with opposing counsel regarding
04/05/2021   JCS                                                                            $375.00   0.1    $37.50
                   opposing counsel   cancellation of mediation.
                                      Correspondences with co-counsel regarding
                   Confer with co-    mediation statement and then cancellation of
04/05/2021   JCS                                                                            $375.00   0.1    $37.50
                   counsel            mediation.

04/05/2021   JCS   Draft Documents    Finalize and submit mediation statement.              $375.00   0.1    $37.50

                                      Correspondence with J. Ammann and B. Rodieger
                   Confer with co-
04/06/2021   JCS                      regarding to-do's following defense counsel's         $375.00   0.1    $37.50
                   counsel
                                      abrupt cancellation of mediation.

                                      Correspondences with defense counsel regarding
                   Confer with
04/07/2021   JCS                      discovery, deposition scheduling, kicking trial       $375.00   0.2    $75.00
                   opposing counsel
                                      settings and discovery cut-off dates

                                      Correspondences with co-counsel regarding
                   Confer with co-    discovery, deposition scheduling, kicking trial
04/07/2021   JCS                                                                            $375.00   0.2    $75.00
                   counsel            settings and discovery cut-off dates, and testimony
                                      elicited and to be elicited.

                                      Receive and review Court order extending
04/13/2021   JCS   Review             discovery deadlines and revising scheduling orders    $375.00   0.1    $37.50
                                      in consolidated cases.

                                      Various correspondences with team re: party
04/15/2021   JCS   Correspondence                                                           $375.00   0.1    $37.50
                                      depositions.

                                      Correspondences with all counsel re: party
04/16/2021   JCS   Correspondence                                                           $375.00   0.2    $75.00
                                      depositions.

                   Confer with co-    Conference call with co-counsel to discuss defense
05/14/2021   JCS                                                                            $375.00   0.1    $37.50
                   counsel            strategy and to-do's.

06/11/2021                            Correspondences with co-counsel to set up
             JCS   Correspondence                                                           $375.00   0.1    $37.50
                                      meeting to discuss cases.

                                      Meet with co-counsel and team to go over all
06/15/2021   JCS   Conference                                                               $375.00   0.4   $150.00
                                      cases, prepare to-dos and discuss strategy.

                                      Correspondence to all counsel of record canceling
06/16/2021   JCS   Correspondence                                                           $375.00   0.1    $37.50
                                      Briesacher's deposition.

                                      Correspondences with all counsel regarding call
07/08/2021   JCS   Correspondence     from Katie Moore from Kansas City Star and plan       $375.00   0.1    $37.50
                                      for media involvement moving forward.

                                      Correspondences with all counsel regarding
07/13/2021   JCS   Correspondence                                                           $375.00   0.1    $37.50
                                      upcoming depositions in consolidated cases.

                                      Telephone conference with team re: strategy of
07/14/2021   JCS   Correspondence                                                           $375.00   0.2    $75.00
                                      cases moving forward.

                   Confer with co-    Call w/ John Ammann re: strategy and to-dos with
07/29/2021   JCS                                                                            $375.00   0.2    $75.00
                   counsel            discovery deadline being tomorrow, July 30, 2021.
                                      Correspondence with co-counsel regarding
08/01/2021   JCS   Correspondence                                                           $375.00   0.1    $37.50
                                      Defendant Bearden’s shifts and hours worked
                                      Receive and review telephone logs from
08/06/2021   JCS   Review             DOJ/DOC; Correspondence with J. Ammann, co-             $375.00   0.2    $75.00
                                      counsel, regarding same

                                      Receive and initial review Defendants' Daubert
08/13/2021   JCS   Review                                                                     $375.00   0.2    $75.00
                                      Motions

                                      Telephone correspondence with Laurel Stevenson
08/20/2021   JCS   Correspondence     re: cases and MAP program and mediation v.              $375.00   0.2    $75.00
                                      informal resolution of each.
                                      Prepare settlement correspondence to L.
08/20/2021   JCS   Draft Documents    Stevenson and send her same, along with May             $375.00   0.3   $112.50
                                      2021 settlement statement.

                                      Review Defendants' Motions to Exclude Expert
08/22/2021   JCS   Review                                                                     $375.00   0.2    $75.00
                                      Opinions.

                   Draft Documents    Begin to prepare Plaintiffs' Responses to
08/22/2021   JCS                                                                              $375.00   0.4   $150.00
                                      Defendants' Motions to Exclude Expert Opinions.
                                      Telephone conference call with MAP Coordinator
08/26/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      to discuss and schedule mediatio

                   Confer with co-    Correspondence with co-counsel re; upcoming
08/29/2021   JCS                                                                              $375.00   0.1    $37.50
                   counsel            mediations and strategy for same.

                                      Continue to prepare Responses in Opposition to
08/30/2021   JCS   Draft Documents                                                            $375.00   0.4   $150.00
                                      Defendant(s)' Motion to Exclude Expert Opinions
                                      Finalize and file Plaintiff's Responses in Opposition
08/30/2021   JCS   File                                                                       $375.00   0.2    $75.00
                                      to Defendant(s)' Motion to Exclude Expert Opinions

                                      Ongoing correspondences with co-counsel
08/30/2021   JCS   Correspondence     regarding responses to dispositive and daubert          $375.00   0.2    $75.00
                                      motoins

                                      Correspondence with team re: upcoming deadlines
09/03/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      and mediation.

                                      Attend Part I of mediation with all counsel and
09/07/2021   JCS   Attend Mediation                                                           $375.00   0.5   $187.50
                                      Laurel Stevenson

                                      Review file and settlements and verdicts found to
09/07/2021   JCS   Review             prepare for mediation with all counsel and Laurel       $375.00   0.2    $75.00
                                      Stevenson

                                      Correspondence with various attorneys re:
09/09/2021   JCS   Correspondence                                                             $375.00   0.6   $225.00
                                      "summary jury trial" to evaluate same

                                      Correspondences with team re: consolidation and
09/21/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      trial settings
                                      Correspondences with team re: consolidation and
09/24/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      review motion prepare to do same

09/29/2021   JCS   Review             Receive and review Court Order on experts.              $375.00   0.1    $37.50

                                      Redline motion and suggestions in support of
10/11/2021   JCS   Revise documents   motion to consolidate; correspondences with team        $375.00   0.3   $112.50
                                      re: same
                                      Receive and review correspondence from Laurel
10/21/2021   JCS   Review             Stevenson re: her efforts to get answer from AGs        $375.00   0.1    $37.50
                                      office on issue of consolidation
                                      Receive and review defendant's opposition to
10/26/2021   JCS   Review                                                                     $375.00   0.1    $37.50
                                      consolidation

                   Confer with co-    Conference call regarding Motion to Consolidate,
10/27/2021   JCS                                                                              $375.00   0.1    $37.50
                   counsel            Defendant’s Response and need for reply
                                      Receive and review Orders from Judge Phillips re:
11/17/2021   JCS   Review             consolidating cases and deadlines moving forward,       $375.00   0.2    $75.00
                                      including trial date and all pre-trial deadline.
                   Confer with co-     Confer with team re: consolidation, deadlines, and
11/17/2021   JCS                                                                                 $375.00   0.2    $75.00
                   counsel             next steps.

                                       Attend Part I of mediation with all counsel and
11/22/2021   JCS   Correspondence                                                                $375.00   0.1    $37.50
                                       Laurel Stevenson

                                       Correspondences with co-counsel re: mediation in
11/22/2021   JCS   Correspondence                                                                $375.00   0.2    $75.00
                                       this matter.
                   Confer with co-     Confer with team re: mediation in consolidated
11/23/2021   JCS                                                                                 $375.00   0.2    $75.00
                   counsel             cases per Court Order.

                   Confer with co-     Confer with team re: plan for this week, specifically
11/29/2021   JCS                                                                                 $375.00   0.1    $37.50
                   counsel             mediation of consolidated cases Wednesday 12/1.
                   Confer with co-     Various correspondences with co-counsel
11/30/2021   JCS                                                                                 $375.00   0.2    $75.00
                   counsel             regarding consolidated cases and mediation
                                       Attend Mediation in Consolidated Cases (per Court
                                       Order); Correspondence with team before and after
12/01/2021   JCS   Attend Mediation                                                              $375.00   0.8   $300.00
                                       same; Receive summary correspondence from
                                       Laurel Stevenson re: same.

                   Confer with co-     Ongoing correspondences with team following
12/02/2021   JCS                                                                                 $375.00   0.1    $37.50
                   counsel             mediation and settlement numbers

                   Confer with co-     Correspondences with team regarding trial strategy
12/03/2021   JCS                                                                                 $375.00   0.3   $112.50
                   counsel             and schedule.
                                       Continue to prepare writ for T. Dean to appear at
12/08/2021   JCS   Draft Documents                                                               $375.00   0.2    $75.00
                                       trial

                                       Prepare writ for T. Dean to appeal at trial, file and
12/13/2021   JCS   Draft Documents                                                               $375.00   0.2    $75.00
                                       serve same
                   Confer with co-     Team meeting with co-counsel re: pre-trial to-do's
12/22/2021   JCS                                                                                 $375.00   0.6   $225.00
                   counsel             and trial strategy.
12/27/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                     $375.00   0.2    $75.00

12/28/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                     $375.00   0.2    $75.00
12/29/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                     $375.00   0.2    $75.00

01/03/2022   JCS   Draft Documents     Continue to prepare and finalize Motions in Limine.       $375.00   0.2    $75.00

                   Confer with co-     Confer with co-counsel regarding pre-trial team
01/04/2022   JCS                                                                                 $375.00   0.2    $75.00
                   counsel             meeting and pre-trail deadlines
                                       Review request for writ filed by defendant; confer
01/04/2022   JCS   Review                                                                        $375.00   0.2    $75.00
                                       with team re: same
01/04/2022   JCS   Review and revise   Review and continue to prepare stipulations               $375.00   0.2    $75.00

                   Confer with co-     Confer with co-counsel regarding trial strategy and
01/06/2022   JCS                                                                                 $375.00   0.4   $150.00
                   counsel             other pre-trial filings and to-do's
                   Prepare for court
01/06/2022   JCS                       Prepare trial binder                                      $375.00   0.4   $150.00
                   hearing
                                       Review Defendant's Motions in Limine; Begin to
                                       draft response to Defendant's Motions in Limine;
01/10/2022   JCS   Draft Documents                                                               $375.00   0.4   $150.00
                                       Correspondences with all counsel re: same;
                                       Continue to prepare witness list and trial brief.

                                       Continue to prepare exhibit list, Rule 415 Notice
01/11/2022   JCS   Draft Documents                                                               $375.00   0.4   $150.00
                                       and preliminary Voir Dire questions.
                   Confer with co-     Confer with co-counsel re: trial exhibits and trial to-
01/12/2022   JCS                                                                                 $375.00   0.3   $112.50
                   counsel             dos; Continue to prepare for trial.
                                       Confer with team; Continue to prepare witness list
01/13/2022   JCS   Draft Documents     for trial.                                                $375.00   0.3   $112.50

                                       Receive and review Defendant's witness list,
01/13/2022   JCS   Review                                                                        $375.00   0.2    $75.00
                                       exhibit list, and jury questions.
                   Confer with co-     Confer with team re: Defendant's witness list and
01/14/2022   JCS                                                                                $375.00   0.2     $75.00
                   counsel             our response to same.
                                       Continue to prepare Response to Defendant's
01/14/2022   JCS   Draft Documents                                                              $375.00   0.2     $75.00
                                       Motions in Limine

                                       Continue to prepare: Plaintiffs' Response to
                                       Defendant's Motions in Limines; Plaintiffs' Motion
01/17/2022   JCS   Draft Documents     to Strike Defendant's Experts and Exhibit List;          $375.00   0.5    $187.50
                                       Plaintiff's Jury Instructions; and Stipulations in
                                       preparation for consolidated trial.
                                       Research issues in Defendant's Motion in Limine to
01/17/2022   JCS   Research                                                                     $375.00   0.2     $75.00
                                       prepare response to same.
                                       Continue to prepare and finalize Plaintiffs'
01/18/2022   JCS   Draft Documents                                                              $375.00   0.2     $75.00
                                       Response to Defendant's Motions in Limine

                   Confer with co-
01/19/2022   JCS                       Meeting with co-counsel re: pretrial and tiral.          $375.00   0.5    $187.50
                   counsel
                                       Begin to review cases cited throughout Motions in
01/19/2022   JCS   Review                                                                       $375.00   0.3    $112.50
                                       Limine to prepare for pretrial

                   Prepare for court   Prepare for pretrial, specifically arguments on
01/20/2022   JCS                                                                                $375.00   1.0    $375.00
                   hearing             Plaintiffs' and Defendant's Motions in Limine

             JCS   Attend court                                                                           4.0
01/21/2022                             Attend pretrial in Kansas City; Travel to/from.          $375.00         $1,500.00
                   hearing
                                       Receive and review Court's docket entries and
01/21/2022   JCS   Review                                                                       $375.00   0.1     $37.50
                                       Orders following pretrial.

                                       Prepare Writ of Habeas Corpus Ad Testificandum
01/21/2022   JCS   Draft Documents                                                              $375.00   0.5    $187.50
                                       for Plaintiff Lynnsey Betz.
                                       Receive and review Court Order re: Plaintiffs’
01/24/2022   JCS   Review                                                                       $375.00   0.1     $37.50
                                       Motion to Exclude Testimony of Maya Gasa.

                                       Receive and review correspondence from Court re:
                                       trail being continued; initial correspondences with
01/24/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       the court, opposing counsel and team re: new trial
                                       setting

                                       Ongoing correspondences with court, opposing
01/26/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       counsel and team re: new trial setting
                                       Receive and review new consolidated trial setting;
01/27/2022   JCS   Review              notify clients, experts and current and prior team re:   $375.00   0.3    $112.50
                                       same.
                                       Correspondences with prison to set up pre-trial
03/24/2022   JCS   Correspondence                                                               $375.00   0.1     $37.50
                                       (consolidated cases) meeting w/ Dean

                                       Prepare letter to Ms. Wright requesting in-person
03/28/2022   JC    Draft/Revise        trial preparation meeting with J. Snow and Teri          $150.00   0.1     $15.00
                                       Dean.
                                       Begin preparation of Plaintiffs’ Request for Writ of
03/28/2022   JC    Draft filings       Habeas Corpus Ad Testificandum related to Teri           $150.00   0.1     $15.00
                                       Dean.
                                       Correspondence with prison to schedule pre-trial
03/28/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       meeting with T. Dean.

                                       Prepare and file writ for Dean; Correspondence
04/05/2022   JCS   Review and confer   with team re: outlines, topics, pre-trial meeting        $375.00   0.3    $112.50
                                       plans
                                       Attend pre-trial meeting with team; Confer with
                                       clerk and courtroom deputy to get details on voir
                                       dire seating chart, jury seating/rules, lunches, etc.;
04/06/2022   JCS   Conference                                                                   $375.00   1.0    $375.00
                                       Correspondences with defense counsel re: exhibits
                                       for trial and access to same and rulings on motions
                                       in limine.
                                      Review demonstrative chart circulated by J.
                                      Ammann and compare to Dean's housing
                                      assignments to illustrate when Bearden and Dean
04/08/2022   JCS   Review                                                                      $375.00   0.2     $75.00
                                      would have been in the same place at the same
                                      time; Correspondences with team re:
                                      demonstrative.
                                      Review exhibits/link from defense counsel; review
                                      defense counsel's notes on MILs; prepare voir dire
04/11/2022   JCS   Review             map; compile documents for voir dire; Ongoing            $375.00   0.4    $150.00
                                      correspondences with team re: pre-trial strategy,
                                      to-do's, etc.
                                      Continue preparation of Plaintiffs' Exhibits 1-7 to be
04/11/2022   JC    Draft filings                                                               $150.00   0.1     $15.00
                                      used at trial.

04/12/2022   JCS   Review             Review EOA filed by Abbie Rothermich                     $375.00   0.1     $37.50

                   Draft filings      Continue preparation of Plaintiffs’ Exhibits 8-10 and
04/13/2022   JC                                                                                $150.00   0.1     $15.00
                                      22-23 to be used at trial.

                                      Continue preparation of Plaintiffs’ Exhibits 24-33 to
04/14/2022   JC    Draft filings                                                               $150.00   0.1     $15.00
                                      be used at trial.

                                      Correspondence with T. Dean re: pre-trial meeting
                                      and trial appearance and what to expect; Continued
04/15/2022   JCS   Correspondence     correspondence with Vandalia re: April 22nd visit        $375.00   0.5    $187.50
                                      with T. Dean to adjust time for same;
                                      Correspondence with team re: trial strategy issues.
                                      Review defendants exhibits and discuss job charts
04/15/2022   JCS   Review                                                                      $375.00   0.3    $112.50
                                      with co-counsel J. Ammann.
                                      Correspondences with team re: ongoing trial prep
04/19/2022   JCS   Correspondence                                                              $375.00   0.2     $75.00
                                      and strategy.

                                      Research and review Defense witness, D. Clay, for
04/19/2022   JCS   Review                                                                      $375.00   0.1     $37.50
                                      purposes of preparing her cross-examination
                                      Prepare summary of Dean's case for use in
                                      opening; Begin to prepare direct examination of
04/20/2022   JCS   Draft Documents    Dean for use at trial; Correspondences with team         $375.00   1.5    $562.50
                                      re: same; Continue to prepare and discuss
                                      demonstratives
                                      Pre-trial team meeting to discuss trial and further
04/21/2022   JCS   Conference                                                                  $375.00   0.5    $187.50
                                      develop themes and strategy

                                      Travel to/from Vandalia to meet with T. Dean to
04/22/2022   JCS   Meet with Client                                                            $375.00   2.0    $750.00
                                      prep her for trial
04/23/2022   JCS   Transportation     Travel to Kansas City for trial.                         $375.00   1.0    $375.00
                   Confer with co-    Ongoing discussions with co-counsel re: case
04/24/2022   JCS                                                                               $375.00   0.3    $112.50
                   counsel            strategy.
                                      Attend and partake in day one of trial, including voir
                   Attend court
04/25/2022   JCS                      dire, openings and start of plaintiffs' case in chief;   $375.00   3.4   $1,275.00
                   hearing
                                      Prepare for day two of trial.

                   Attend court       Attend and partake in day two of trial; Prepare
04/26/2022   JCS                                                                               $375.00   3.5   $1,312.50
                   hearing            expert for day three of trial.
                   Attend court
04/27/2022   JCS                      Attend and partake in day three of trial.                $375.00   2.5    $937.50
                   hearing
                   Attend court
04/28/2022   JCS                      Attend and partake in day four of trial.                 $375.00   2.0    $750.00
                   hearing
                   Attend court
04/29/2022   JCS                      Return travel from trial back to St. Louis.              $375.00   1.0    $375.00
                   hearing
                                      Correspondences with my prior firm, Kamykowski
05/07/2022   JCS   Correspondence     Gavin and Smith, to obtain time and expense              $375.00   0.4    $150.00
                                      reports to include in Plaintiffs' Motion for Fees.
                                         Continue to prepare Plaintiffs' Motion for Attorney
05/08/2022     JCS     Draft Documents   Fees; Discuss declarations, other exhibits, etc., to     $375.00             0.3      $112.50
                                         attach to same.

                                         Continue to prepare Motion for Attorney Fees;
05/09/2022     JCS     Draft Documents                                                            $375.00             0.2       $75.00
                                         Correspondences with team re: same.
                                         Research reasonable attorney rates to apply to
                                         hours in order to continue to prepare Motion for
05/09/2022     JCS     Research                                                                   $375.00             0.3      $112.50
                                         Attorney Fees; Correspondences with team re:
                                         same.
                                         Continue to prepare declaration; Continue to
05/10/2022     JCS     Draft Documents                                                            $375.00             1.0      $375.00
                                         prepare Motion for Attorney's Fees.
                                         Prepare Declaration of Jenifer C. Snow to be filed
                                         with Plaintiffs’ Motion for Attorneys’ Fees; Continue    $150.00                      $225.00
05/10/2022     JC      Draft filings                                                                                  1.5
                                         preparation of exhibits to be filed with Plaintiffs’
                                         Motion for Attorneys’ Fees.
Non-billable Time Entries:
03/16/2021     JCS     Deposition        Appear for and attend deposition of Vevia Sturm          $375.00             0.6      $225.00

04/07/2021     JCS     Correspondence    Attend Defendant Bearden's Deposition.                   $375.00             0.4      $150.00

                                                                                                   Totals:          52.4    $18,825.00
Expenses

Date           EE      Activity          Description                                                 Cost        Quantity    Line Total
                                         Travel to/from Vandalia, MO for trial preparation
04/22/2022     JC      Mileage                                                                     $27.70             1.0       $27.70
                                         with inmate Teri Dean.
                       Reimbursable      Jenifer hotel for trial 4.23.22 - 4.30.22 (split 4
05/04/2022     JC                                                                                 $305.64             1.0      $305.64
                       Expense           ways).
                       Reimbursable
05/04/2022     JC                        Trial Expenses – Travel for trial (split 4 ways).         $21.05             1.0       $21.05
                       Expense

                                                                                                         Expense Total:        $354.39


Notes:                                                                                           Time Entry Sub-Total:      $18,825.00

JC Total: 2.0 hours; $300.00                                                                       Expense Sub-Total:         $354.39
JCS Total: 50.4 hours; $18,525.00                                                                            Sub-Total:     $19,179.39


                                                                                                                 Total:     $19,179.39
                                                                                                       Amount Paid:              $0.00

                                                                                                        Balance Due:        $19,179.39
                                        Kamykowski & Taylor, P.C.
                                         222 S. Central Ave., Suite 1100
                                            Clayton, Missouri 63105
                                             Phone: 314.665.3280



        George (Doe) v. Bearden                                                  Invoice Date:   May 10, 2022
        For Services rendered between
        December 20, 2019 – January 19, 2021

Item             Date           Description                               hrs.       Rate         Total         Billed
                                                                                                                By
Review/analyze 2/28/2020        Review Scheduling and Trial Order and       0.1 $150.00          $15.00         ENR
                                confirm all deadlines have been
                                calendared.


TOTAL                                                                       0.1                  $15.00         ENR

Communicate      1/19/2021      Correspondences with co-counsel             0.2 $375.00          $75.00         JCS
(other outside                  regarding dismissing 3 state counts in
counsel)                        Complaint.
Review/analyze 1/15/2021        Receive and review notices of               0.1 $375.00          $37.50         JCS
                                subpoenas to be served on all of
                                Plaintiff's employees.
Communicate      1/15/2021      Correspondences with defense                0.1 $375.00          $37.50         JCS
(other outside                  counsel regarding notices of
counsel)                        subpoenas to be served on all of
                                Plaintiff's employees.
Review/analyze 1/5/2021         Receive and review Order establishing       0.1 $375.00          $37.50         JCS
                                new discovery and dispositive motion
                                deadlines.
Communicate      12/29/2020     Correspondences with all counsel            0.1 $375.00          $37.50         JCS
(other outside                  regarding Court Order denying
counsel)                        continuance of deadlines, generally,
                                and plan for discovery, specifically,
                                depositions moving forward including
                                taking them virtually and deadlines for
                                same.
Communicate      12/29/2020     Correspondences with co-counsel             0.1 $375.00          $37.50         JCS
(other outside                  regarding plan for depositions, who to
counsel)                        produce, who to request, how to
                                produce/take them (virtually v. in
                                person) and timeframe of same.
Review/analyze 12/28/2020       Receive and review Order Denying            0.2 $375.00          $75.00         JCS
                                Extension of Deadlines, generally.
Item             Date         Description                                hrs.    Rate    Total       Billed
                                                                                                     By
Communicate      9/4/2020     Telephone conference with all co-            0.1 $375.00   $37.50      JCS
(other                        counsel regarding case status.
external)
Communicate      9/1/2020     Correspondence with all counsel              0.2 $375.00   $75.00      JCS
(other outside                regarding disclosure of Plaintiff’s
counsel)                      experts and reports.

Communicate      9/1/2020     Receive and review Plaintiff's expert        0.2 $375.00   $75.00      JCS
(other outside                witness disclosures and reports and
counsel)                      records of Plaintiff.

Review/analyze 8/12/2020      Receive and forward for processing           0.2 $375.00   $75.00      JCS
                              DOC document production.

Review/analyze 7/31/2020      Receive and review pleadings                 0.2 $375.00   $75.00      JCS
                              regarding discovery extensions

Review/analyze 6/22/2020      Receive and review Defendant                 0.3 $375.00   $112.50     JCS
                              Bearden’s initial discovery served on
                              Plaintiff, process to file, and calendar
                              deadline for answers and responses.
Communicate      4/23/2020    Receive and review various                   0.2 $375.00   $75.00      JCS
(other outside                correspondences between J. Ammann
counsel)                      and M. Pennycuff regarding subpoena
                              for DOC documents.

Communicate      4/20/2020    Correspondences with co-counsel              0.2 $375.00   $75.00      JCS
(other outside                regarding moving forward with
counsel)                      discovery, specifically subpoena to
                              DOC and serving Defendant Bearden
                              with written discovery.
Review/analyze 2/28/2020      Receive and review Defendant                 0.2 $375.00   $75.00      JCS
                              Bearden's Answer and Affirmative
                              Defenses.
Review/analyze 2/28/2020      Receive and review Defendant                 0.2 $375.00   $75.00      JCS
                              Bearden’s Initial Rule 26 Disclosures
Review/analyze 1/17/2020      Receive and review notice of                 0.1 $375.00   $37.50      JCS
                              appearance filed by Nicolas Taulbee
                              on behalf of Edward Bearden
Appear           1/7/2020     Attend meeting with all co-counsel           0.2 $375.00   $75.00      JCS
for/attend                    regarding case status and strategy.

Draft/revise     12/20/2019   Continue to prepare entry of                 0.2 $375.00   $75.00      JCS
                              appearances for me and R. Gavin.
TOTAL                                                                      3.4           $1,275.00   JCS
Item           Date        Description                              hrs.   Rate     Total     Billed
                                                                                              By

Communicate    1/6/2021    Receive and review email                   0.1 $425.00   $42.50    RJG
(other                     correspondence from Mr. Ammann
external)                  and Mr. Taulbee regarding statute of
                           limitations and dismissal of claims.
Review/analyze 1/5/2021    Receive and review Court order             0.1 $425.00   $42.50    RJG
                           granting Motion to Amend Scheduling
                           Order.
Review/analyze 8/3/2020    Receive and review Plaintiff's             0.4 $425.00   $170.00   RJG
                           responses to Defendant's written
                           discovery requests.
Communicate    7/22/2020   Receive and review email                   0.1 $425.00   $42.50    RJG
(other                     correspondence from Mr. Taulbee and
external)                  Mr. Ammann regarding Plaintiff's
                           responses to Defendant's discovery
                           requests.
Review/analyze 4/30/2020   Review pleadings and discovery in          0.7 $425.00   $297.50   RJG
                           preparation for strategy conference
                           with J. Snow.

Communicate    4/28/2020   Receive and review email                   0.2 $425.00   $85.00    RJG
(other                     correspondence from co-counsel
external)                  regarding depositions of witnesses.

Communicate    4/23/2020   Receive and review email                   0.1 $425.00   $42.50    RJG
(other                     correspondence from Mr. Ammann
external)                  regarding subpoena directed to
                           Department of Corrections.

Appear         2/28/2020   Receive and review Answer of Edward        0.2 $425.00   $85.00    RJG
for/attend                 Bearden.
Appear         2/28/2020   Receive and review Defendant Edward        0.2 $425.00   $85.00    RJG
for/attend                 Bearden's Rule 26 Initial Disclosures.

Review/analyze 2/14/2020   Receive and review scheduling order        0.1 $425.00   $42.50    RJG
                           entered by Court.

Communicate    2/10/2020   Receive and review email                   0.2 $425.00   $85.00    RJG
(other                     correspondence from Mr. Ammann
external)                  regarding Rule 26 Initial Disclosures
                           and proposed scheduling order.

Communicate    1/16/2020   Receive and review email                   0.2 $425.00   $85.00    RJG
(other                     correspondence from counsel
external)                  regarding scheduling order.
Item           Date       Description                           hrs.    Rate    Total       Billed
                                                                                            By
Review/analyze 1/9/2020   Receive and review Rule 16 Notice       0.1 $425.00   $42.50      RJG
                          entered by Court.
Plan and       1/7/2020   Review file in preparation for          0.2 $425.00   $85.00      RJG
prepare for               conference call with all counsel.

Appear         1/7/2020   Attend meeting with all co-counsel      0.1 $425.00   $42.50      RJG
for/attend                regarding case status and strategy.

TOTAL                                                             3.0           $1,275.00   RJG

GRAND TOTAL                                                       6.5           $2,565.00
Law Office of Joan M. Swartz                                                     Law Office of Joan M. Swartz
3348 Greenwood Blvd.
St. Louis, MO 63143
United States
(314) 471-2032




SLU Law Clinic Cases                                                                       Balance       $19,329.39
                                                                                           Invoice #     00696
                                                                                           Invoice Date  May 10, 2022
                                                                                           Payment Terms
                                                                                           Due Date




George (Doe) v. Bearden

Time Entries

Date         EE    Activity           Description                                                Rate   Hours   Line Total
02/03/2021   JCS   Draft Documents    Prepare Notice of Change of Address                     $375.00     0.2     $75.00
                                      Various correspondences with all counsel
02/03/2021   JCS   Correspondence                                                             $375.00     0.2     $75.00
                                      regarding upcoming party and witness depositions.
                                      Telephone correspondence with co-counsel to
02/08/2021   JCS   Correspondence     discuss deposition testimony, upcoming                  $375.00     0.2     $75.00
                                      depositions and case theories moving forward.
                   Confer with co-    Correspondences with co-counsel regarding
02/18/2021   JCS   counsel                                                                    $375.00     0.1     $37.50
                                      upcoming depositions.

                   Confer with co-    Telephone conference call with J. Ammann to
02/25/2021   JCS                                                                              $375.00     0.1     $37.50
                   counsel            catch up on depositions in all cases.
                   Confer with        Continued correspondences with all counsel
03/05/2021   JCS                                                                              $375.00     0.1     $37.50
                   opposing counsel   regarding depositions.

                                      Continued correspondences with all counsel
03/12/2021   JCS   Correspondence                                                             $375.00     0.1     $37.50
                                      regarding party depositions.
                                      Correspondences with team and with defense
                                      counsel regarding reopening settlement
                                      negotiations before 20+ more depositions and trial
03/15/2021   JCS   Correspondence                                                             $375.00     0.5    $187.50
                                      prep occurs; Correspondences with co-counsel
                                      regarding upcoming depositions and strategy for
                                      same.

                   Draft
03/15/2021   JCS                      Continue to prepare supplemental disclosures.           $375.00     0.1     $37.50
                   Correspondence
                                      Phone conference with J. Ammann and B.
                   Confer with co-
03/24/2021   JCS                      Roediger to discuss settlement, specifically            $375.00     0.2     $75.00
                   counsel
                                      demand amounts and strategy for making same.

03/28/2021   JCS   Correspondence     Make demand via email to defense counsel.               $375.00     0.2     $75.00
                   Confer with co-    Correspondence with co-counsel re: discussions
03/31/2021   JCS                                                                              $375.00     0.1     $37.50
                   counsel            with Defense Counsel relating to settlement.
                                      Continued correspondences with co-counsel
                   Confer with co-
04/01/2021   JCS                      regarding settlement negotiations and                   $375.00   0.1    $37.50
                   counsel
                                      supplemental disclosures.
                   Confer with        Correspondence with P. Brown and N. Taublee to
04/02/2021   JCS                                                                              $375.00   0.1    $37.50
                   opposing counsel   schedule April 6th mediation.

                                      Correspondences with co-counsel regarding
                                      mediation, specifically our position re: mediator,
                   Confer with co-
04/02/2021   JCS                      value of each case, and to-do's between now and         $375.00   0.3   $112.50
                   counsel
                                      mediation including mediation statement to prepare
                                      and calls to clients to make.

                                      Continue to prepare Plaintiffs' Joint Mediation
04/04/2021   JCS   Draft Documents    Statement; Correspondences with co-counsel              $375.00   0.2    $75.00
                                      regarding same.

                   Confer with        Correspondences with opposing counsel regarding
04/05/2021   JCS                                                                              $375.00   0.1    $37.50
                   opposing counsel   cancellation of mediation.
                                      Correspondences with co-counsel regarding
                   Confer with co-    mediation statement and then cancellation of
04/05/2021   JCS                                                                              $375.00   0.1    $37.50
                   counsel            mediation.

04/05/2021   JCS   Draft Documents    Finalize and submit mediation statement.                $375.00   0.1    $37.50

                                      Correspondence with J. Ammann and B. Rodieger
                   Confer with co-
04/06/2021   JCS                      regarding to-do's following defense counsel's           $375.00   0.1    $37.50
                   counsel
                                      abrupt cancellation of mediation.

                                      Correspondences with defense counsel regarding
                   Confer with
04/07/2021   JCS                      discovery, deposition scheduling, kicking trial         $375.00   0.2    $75.00
                   opposing counsel
                                      settings and discovery cut-off dates

                                      Correspondences with co-counsel regarding
                   Confer with co-    discovery, deposition scheduling, kicking trial
04/07/2021   JCS                                                                              $375.00   0.2    $75.00
                   counsel            settings and discovery cut-off dates, and testimony
                                      elicited and to be elicited.

                                      Correspondences with defense counsel regarding
04/12/2021   JCS   Correspondence     Joint Motion to Continue Scheduling Order               $375.00   0.2    $75.00
                                      deadlines in Doe case.

                                      Receive and review Court Order resetting case for
04/13/2021   JCS   Review             trial and other relevant pretrial deadlines; calendar   $375.00   0.3   $112.50
                                      same.

                                      Receive and review Court order extending
04/13/2021   JCS   Review             discovery deadlines and revising scheduling orders      $375.00   0.1    $37.50
                                      in consolidated cases.

                                      Various correspondences with team re: party
04/15/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      depositions.
                                      Correspondences with all counsel re: party
04/16/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      depositions.

                   Confer with co-    Conference call with co-counsel to discuss defense
05/14/2021   JCS                                                                              $375.00   0.1    $37.50
                   counsel            strategy and to-do's.

                                      Correspondences with co-counsel to set up
06/11/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      meeting to discuss cases.
                                      Meet with co-counsel and team to go over all
06/15/2021   JCS   Conference                                                                 $375.00   0.4   $150.00
                                      cases, prepare to-dos and discuss strategy.

                                      Correspondence to all counsel of record canceling
06/16/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      Briesacher's deposition.

                                      Correspondences with all counsel regarding call
07/08/2021   JCS   Correspondence     from Katie Moore from Kansas City Star and plan         $375.00   0.1    $37.50
                                      for media involvement moving forward.
                                      Correspondences with all counsel regarding
07/13/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      upcoming depositions in consolidated cases.
                                      Telephone conference with team re: strategy of
07/14/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      cases moving forward.

                   Confer with co-    Call w/ John Ammann re: strategy and to-dos with
07/29/2021   JCS                                                                              $375.00   0.2    $75.00
                   counsel            discovery deadline being tomorrow, July 30, 2021.

                                      Correspondence with co-counsel regarding
08/01/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      Defendant Bearden’s shifts and hours worked

                                      Receive and review telephone logs from
08/06/2021   JCS   Review             DOJ/DOC; Correspondence with J. Ammann, co-             $375.00   0.2    $75.00
                                      counsel, regarding same

                                      Receive and review telephone logs from
08/06/2021   JCS   Review             DOJ/DOC; Correspondence with J. Ammann, co-             $375.00   0.2    $75.00
                                      counsel, regarding same

                                      Receive and initial review Defendants' Daubert
08/13/2021   JCS   Review                                                                     $375.00   0.2    $75.00
                                      Motions
                                      Telephone correspondence with Laurel Stevenson
08/20/2021   JCS   Correspondence     re: cases and MAP program and mediation v.              $375.00   0.2    $75.00
                                      informal resolution of each.

                                      Prepare settlement correspondence to L.
08/20/2021   JCS   Draft Documents    Stevenson and send her same, along with May             $375.00   0.3   $112.50
                                      2021 settlement statement.

                                      Review Defendants' Motions to Exclude Expert
08/22/2021   JCS   Review                                                                     $375.00   0.2    $75.00
                                      Opinions.
                                      Begin to prepare Plaintiffs' Responses to
08/22/2021   JCS   Draft Documents                                                            $375.00   0.4   $150.00
                                      Defendants' Motions to Exclude Expert Opinions.

                                      Telephone conference call with MAP Coordinator
08/26/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      to discuss and schedule mediatio

                   Confer with co-    Correspondence with co-counsel re; upcoming             $375.00
08/29/2021   JCS                                                                                        0.1    $37.50
                   counsel            mediations and strategy for same.

                   Draft Documents    Continue to prepare Responses in Opposition to
08/30/2021   JCS                                                                              $375.00   0.4   $150.00
                                      Defendant(s)' Motion to Exclude Expert Opinions

                                      Finalize and file Plaintiff's Responses in Opposition
08/30/2021   JCS   File                                                                       $375.00   0.2    $75.00
                                      to Defendant(s)' Motion to Exclude Expert Opinions

                                      Ongoing correspondences with co-counsel
08/30/2021   JCS   Correspondence     regarding responses to dispositive and daubert          $375.00   0.2    $75.00
                                      motoins
                                      Correspondence with team re: upcoming deadlines
09/03/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      and mediation.

                                      Attend Part I of mediation with all counsel and
09/07/2021   JCS   Attend Mediation                                                           $375.00   0.5   $187.50
                                      Laurel Stevenson

                                      Review file and settlements and verdicts found to
09/07/2021   JCS   Review             prepare for mediation with all counsel and Laurel       $375.00   0.2    $75.00
                                      Stevenson
                                      Correspondence with various attorneys re:
09/09/2021   JCS   Correspondence                                                             $375.00   0.6   $225.00
                                      "summary jury trial" to evaluate same

                                      Correspondences with team re: consolidation and
09/21/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      trial settings

                                      Correspondences with team re: consolidation and
09/24/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      review motion prepare to do same
09/29/2021   JCS   Review             Receive and review Court Order on experts.              $375.00   0.1    $37.50

                                      Redline motion and suggestions in support of
10/11/2021   JCS   Revise documents   motion to consolidate; correspondences with team        $375.00   0.3   $112.50
                                      re: same
                                      Receive and review correspondence from Laurel
10/21/2021   JCS   Review             Stevenson re: her efforts to get answer from AGs        $375.00   0.1    $37.50
                                      office on issue of consolidation
                                       Receive and review defendant's opposition to
10/26/2021   JCS   Review                                                                      $375.00   0.1    $37.50
                                       consolidation

                   Confer with co-     Conference call regarding Motion to Consolidate,
10/27/2021   JCS                                                                               $375.00   0.1    $37.50
                   counsel             Defendant’s Response and need for reply

                                       Receive and review Orders from Judge Phillips re:
11/17/2021   JCS   Review              consolidating cases and deadlines moving forward,       $375.00   0.2    $75.00
                                       including trial date and all pre-trial deadline.
                   Confer with co-     Confer with team re: consolidation, deadlines, and
11/17/2021   JCS                                                                               $375.00   0.2    $75.00
                   counsel             next steps.

                                       Attend Part I of mediation with all counsel and
11/22/2021   JCS   Correspondence                                                              $375.00   0.1    $37.50
                                       Laurel Stevenson

                                       Correspondences with co-counsel re: mediation in
11/22/2021   JCS   Correspondence                                                              $375.00   0.2    $75.00
                                       this matter.
                   Confer with co-     Confer with team re: mediation in consolidated
11/23/2021   JCS                                                                               $375.00   0.2    $75.00
                   counsel             cases per Court Order.

                   Confer with co-     Confer with team re: plan for this week, specifically
11/29/2021   JCS                                                                               $375.00   0.1    $37.50
                   counsel             mediation of consolidated cases Wednesday 12/1.
                   Confer with co-     Various correspondences with co-counsel
11/30/2021   JCS                                                                               $375.00   0.2    $75.00
                   counsel             regarding consolidated cases and mediation
                                       Attend Mediation in Consolidated Cases (per Court
                                       Order); Correspondence with team before and after
12/01/2021   JCS   Attend Mediation                                                            $375.00   0.8   $300.00
                                       same; Receive summary correspondence from
                                       Laurel Stevenson re: same.

                   Confer with co-     Ongoing correspondences with team following
12/02/2021   JCS                                                                               $375.00   0.1    $37.50
                   counsel             mediation and settlement numbers

                   Confer with co-     Correspondences with team regarding trial strategy
12/03/2021   JCS                                                                               $375.00   0.3   $112.50
                   counsel             and schedule.
                                       Continue to prepare writ for T. Dean to appear at
12/08/2021   JCS   Draft Documents                                                             $375.00   0.2    $75.00
                                       trial

                                       Prepare writ for T. Dean to appeal at trial, file and
12/13/2021   JCS   Draft Documents                                                             $375.00   0.2    $75.00
                                       serve same
                   Confer with co-     Team meeting with co-counsel re: pre-trial to-do's
12/22/2021   JCS                                                                               $375.00   0.6   $225.00
                   counsel             and trial strategy.
12/27/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                   $375.00   0.2    $75.00

12/28/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                   $375.00   0.2    $75.00
12/29/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                   $375.00   0.2    $75.00
01/03/2022   JCS   Draft Documents     Continue to prepare and finalize Motions in Limine.     $375.00   0.2    $75.00

                   Confer with co-     Confer with co-counsel regarding pre-trial team
01/04/2022   JCS                                                                               $375.00   0.2    $75.00
                   counsel             meeting and pre-trail deadlines
                                       Review request for writ filed by defendant; confer
01/04/2022   JCS   Review                                                                      $375.00   0.2    $75.00
                                       with team re: same
01/04/2022   JCS   Review and revise   Review and continue to prepare stipulations             $375.00   0.2    $75.00

                   Confer with co-     Confer with co-counsel regarding trial strategy and
01/06/2022   JCS                                                                               $375.00   0.4   $150.00
                   counsel             other pre-trial filings and to-do's
                   Prepare for court
01/06/2022   JCS                       Prepare trial binder                                    $375.00   0.4   $150.00
                   hearing

                                       Review Defendant's Motions in Limine; Begin to
                                       draft response to Defendant's Motions in Limine;
01/10/2022   JCS   Draft Documents                                                             $375.00   0.4   $150.00
                                       Correspondences with all counsel re: same;
                                       Continue to prepare witness list and trial brief.

                                       Continue to prepare exhibit list, Rule 415 Notice
01/11/2022   JCS   Draft Documents                                                             $375.00   0.4   $150.00
                                       and preliminary Voir Dire questions.
                   Confer with co-     Confer with co-counsel re: trial exhibits and trial to-
01/12/2022   JCS                                                                                 $375.00   0.3    $112.50
                   counsel             dos; Continue to prepare for trial.
                                       Confer with team; Continue to prepare witness list
01/13/2022   JCS   Draft Documents                                                               $375.00   0.3    $112.50
                                       for trial.

                                       Receive and review Defendant's witness list,
01/13/2022   JCS   Review                                                                        $375.00   0.2     $75.00
                                       exhibit list, and jury questions.

01/14/2022         Confer with co-     Confer with team re: Defendant's witness list and
             JCS                                                                                 $375.00   0.2     $75.00
                   counsel             our response to same.
                                       Continue to prepare Response to Defendant's
01/14/2022   JCS   Draft Documents                                                               $375.00   0.2     $75.00
                                       Motions in Limine

                                       Continue to prepare: Plaintiffs' Response to
                                       Defendant's Motions in Limines; Plaintiffs' Motion
01/17/2022   JCS   Draft Documents     to Strike Defendant's Experts and Exhibit List;           $375.00   0.5    $187.50
                                       Plaintiff's Jury Instructions; and Stipulations in
                                       preparation for consolidated trial.
                                       Research issues in Defendant's Motion in Limine to
01/17/2022   JCS   Research                                                                      $375.00   0.2     $75.00
                                       prepare response to same.
                                       Continue to prepare and finalize Plaintiffs'
01/18/2022   JCS   Draft Documents                                                               $375.00   0.2     $75.00
                                       Response to Defendant's Motions in Limine

                   Confer with co-
01/19/2022   JCS                       Meeting with co-counsel re: pretrial and trial.           $375.00   0.5    $187.50
                   counsel

01/19/2022                             Begin to review cases cited throughout Motions in
             JCS   Review                                                                        $375.00   0.3    $112.50
                                       Limine to prepare for pretrial
                   Prepare for court   Prepare for pretrial, specifically arguments on
01/20/2022   JCS                                                                                 $375.00   1.0    $375.00
                   hearing             Plaintiffs' and Defendant's Motions in Limine

                   Attend court
01/21/2022   JCS                       Attend pretrial in Kansas City; Travel to/from.           $375.00   4.0   $1,500.00
                   hearing
                                       Receive and review Court's docket entries and
01/21/2022   JCS   Review                                                                        $375.00   0.1     $37.50
                                       Orders following pretrial.
                                       Receive and review Court Order re: Plaintiffs’
01/24/2022   JCS   Review                                                                        $375.00   0.1     $37.50
                                       Motion to Exclude Testimony of Maya Gasa.

                                       Receive and review correspondence from Court re:
                                       trail being continued; initial correspondences with
01/24/2022   JCS   Correspondence                                                                $375.00   0.2     $75.00
                                       the court, opposing counsel and team re: new trial
                                       setting
                                       Ongoing correspondences with court, opposing
01/26/2022   JCS   Correspondence                                                                $375.00   0.2     $75.00
                                       counsel and team re: new trial setting
                                       Receive and review new consolidated trial setting;
01/27/2022   JCS   Review              notify clients, experts and current and prior team re:    $375.00   0.3    $112.50
                                       same.

                                       Correspondence with T. Dean re: pre-trial meeting,
03/21/2022   JCS   Correspondence                                                                $375.00   0.2     $75.00
                                       plans for consolidated trial, etc.
                                       Correspondences with prison to set up pre-trial
03/24/2022   JCS   Correspondence                                                                $375.00   0.1     $37.50
                                       (consolidated cases) meeting w/ Dean
                                       Prepare letter to Ms. Wright requesting in-person
03/28/2022   JC    Draft/Revise        trial preparation meeting with J. Snow and Teri           $150.00   0.1     $15.00
                                       Dean.

                                       Begin preparation of Plaintiffs’ Request for Writ of
03/28/2022   JC    Draft filings       Habeas Corpus Ad Testificandum related to Teri            $150.00   0.1     $15.00
                                       Dean.
                                       Correspondence with prison to schedule pre-trial
03/28/2022   JCS   Correspondence                                                                $375.00   0.2     $75.00
                                       meeting with T. Dean.
                                       Prepare and file writ for Dean; Correspondence
04/05/2022   JCS   Review and confer   with team re: outlines, topics, pre-trial meeting         $375.00   0.3    $112.50
                                       plans
                                      Attend pre-trial meeting with team; Confer with
                                      clerk and courtroom deputy to get details on voir
                                      dire seating chart, jury seating/rules, lunches, etc.;
04/06/2022   JCS   Conference                                                                  $375.00   1.0    $375.00
                                      Correspondences with defense counsel re: exhibits
                                      for trial and access to same and rulings on motions
                                      in limine.
                                      Review demonstrative chart circulated by J.
                                      Ammann and compare to Dean's housing
                                      assignments to illustrate when Bearden and Dean
04/08/2022   JCS   Review                                                                      $375.00   0.2     $75.00
                                      would have been in the same place at the same
                                      time; Correspondences with team re:
                                      demonstrative.
                                      Review exhibits/link from defense counsel; review
                                      defense counsel's notes on MILs; prepare voir dire
04/11/2022   JCS   Review             map; compile documents for voir dire; Ongoing            $375.00   0.4    $150.00
                                      correspondences with team re: pre-trial strategy,
                                      to-do's, etc.

                                      Continue preparation of Plaintiffs' Exhibits 1-7 to be
04/11/2022   JC    Draft filings                                                               $150.00   0.1     $15.00
                                      used at trial.
04/12/2022   JCS   Review             Review EOA filed by Abbie Rothermich                     $375.00   0.1     $37.50
                                      Continue preparation of Plaintiffs’ Exhibits 8-10 and
04/13/2022   JC    Draft filings                                                               $150.00   0.1     $15.00
                                      22-23 to be used at trial.

                   Draft filings      Continue preparation of Plaintiffs’ Exhibits 24-33 to
04/14/2022   JC                                                                                $150.00   0.1     $15.00
                                      be used at trial.
                                      Correspondence with T. Dean re: pre-trial meeting
                                      and trial appearance and what to expect; Continued
04/15/2022   JCS   Correspondence     correspondence with Vandalia re: April 22nd visit        $375.00   0.5    $187.50
                                      with T. Dean to adjust time for same;
                                      Correspondence with team re: trial strategy issues.
                                      Review defendants exhibits and discuss job charts
04/15/2022   JCS   Review                                                                      $375.00   0.3    $112.50
                                      with co-counsel J. Ammann.

                                      Correspondences with team re: ongoing trial prep
04/19/2022   JCS   Correspondence                                                              $375.00   0.2     $75.00
                                      and strategy.
                                      Research and review Defense witness, D. Clay, for
04/19/2022   JCS   Review                                                                      $375.00   0.1     $37.50
                                      purposes of preparing her cross-examination
                                      Prepare summary of Dean's case for use in
                                      opening; Begin to prepare direct examination of
04/20/2022   JCS   Draft Documents    Dean for use at trial; Correspondences with team         $375.00   1.5    $562.50
                                      re: same; Continue to prepare and discuss
                                      demonstratives

                                      Pre-trial team meeting to discuss trial and further
04/21/2022   JCS   Conference                                                                  $375.00   0.5    $187.50
                                      develop themes and strategy

                                      Travel to/from Vandalia to meet with T. Dean to
04/22/2022   JCS   Meet with Client                                                            $375.00   2.0    $750.00
                                      prep her for trial
04/23/2022   JCS   Transportation     Travel to Kansas City for trial.                         $375.00   1.0    $375.00
                   Confer with co-    Ongoing discussions with co-counsel re: case
04/24/2022   JCS                                                                               $375.00   0.3    $112.50
                   counsel            strategy.
                                      Attend and partake in day one of trial, including voir
                   Attend court                                                                                $1,275.00
04/25/2022   JCS                      dire, openings and start of plaintiffs' case in chief;   $375.00   3.4
                   hearing
                                      Prepare for day two of trial.

                   Attend court       Attend and partake in day two of trial; Prepare
04/26/2022   JCS                                                                               $375.00   3.5   $1,312.50
                   hearing            expert for day three of trial.
                   Attend court
04/27/2022   JCS                      Attend and partake in day three of trial.                $375.00   2.5    $937.50
                   hearing
                   Attend court
04/28/2022   JCS                      Attend and partake in day four of trial.                 $375.00   2.0    $750.00
                   hearing
                       Attend court
04/29/2022     JCS                       Return travel from trial back to St. Louis.              $375.00             1.0      $375.00
                       hearing

                                         Correspondences with my prior firm, Kamykowski
05/07/2022     JCS     Correspondence    Gavin and Smith, to obtain time and expense              $375.00             0.4      $150.00
                                         reports to include in Plaintiffs' Motion for Fees.
                                         Continue to prepare Plaintiffs' Motion for Attorney
05/08/2022     JCS     Draft Documents   Fees; Discuss declarations, other exhibits, etc., to     $375.00             0.3      $112.50
                                         attach to same.
                                         Continue to prepare Motion for Attorney Fees;
05/09/2022     JCS     Draft Documents                                                            $375.00             0.2       $75.00
                                         Correspondences with team re: same.
                                         Research reasonable attorney rates to apply to
                                         hours in order to continue to prepare Motion for
05/09/2022     JCS     Research                                                                   $375.00             0.3      $112.50
                                         Attorney Fees; Correspondences with team re:
                                         same.
                                         Continue to prepare declaration; Continue to
05/10/2022     JCS     Draft Documents                                                            $375.00             1.0      $375.00
                                         prepare Motion for Attorney's Fees.
                                         Prepare Declaration of Jenifer C. Snow to be filed
                                         with Plaintiffs’ Motion for Attorneys’ Fees; Continue
05/10/2022     JC      Draft filings                                                              $150.00             1.5      $225.00
                                         preparation of exhibits to be filed with Plaintiffs’
                                         Motion for Attorneys’ Fees.

Non-billable Time Entries:
03/16/2021     JCS     Deposition        Appear for and attend deposition of Vevia Sturm          $375.00             0.6      $225.00
04/07/2021     JCS     Correspondence    Attend Defendant Bearden's Deposition.                   $375.00             0.4      $150.00

                                                                                                   Totals:          52.8    $18,975.00
Expenses

Date           EE      Activity          Description                                                 Cost        Quantity    Line Total
                                         Travel to/from Vandalia, MO for trial preparation
04/22/2022     JC      Mileage                                                                     $27.70             1.0       $27.70
                                         with inmate Teri Dean.

                       Reimbursable      Jenifer hotel for trial 4.23.22 - 4.30.22 (split 4
05/04/2022     JC                                                                                 $305.64             1.0      $305.64
                       Expense           ways).
                       Reimbursable
05/04/2022     JC                        Trial Expenses – Travel for trial (split 4 ways).         $21.05             1.0       $21.05
                       Expense

                                                                                                         Expense Total:        $354.39


Notes:                                                                                           Time Entry Sub-Total:      $18,975.00

JC Total: 2.0 hours; $300.00                                                                       Expense Sub-Total:         $354.39
JCS Total: 50.8 hours; $18,675.00                                                                            Sub-Total:     $19,329.39


                                                                                                                 Total:     $19,329.39
                                                                                                       Amount Paid:              $0.00

                                                                                                        Balance Due:        $19,329.39
                                          Kamykowski & Taylor, P.C.
                                          222 S. Central Ave., Suite 1100
                                             Clayton, Missouri 63105
                                              Phone: 314.665.3280



        Keil v. Bearden                                       Invoice Date:       May 10, 2022
        For Services rendered between
        May 18, 2018 – January 20, 2021

Item               Date          Description                              hrs.         Rate      Total     Billed
                                                                                                           By
Time               12/7/2018     Finalize the proposed amended                   0.9 $150.00     $135.00   DR
                                 scheduling order and e-file same
                                 with the United States District Court,
                                 Western District of Missouri.
TOTAL                                                                            0.9             $135.00   DR

Draft/revise       6/11/2020     Continue preparation of Motion for              0.3 $150.00     $45.00    ENR
                                 Entry of Scheduling Order and
                                 Scheduling Order to be filed with
                                 the Court.
Document           3/4/2020      Continue preparation of documents               0.2 $150.00     $30.00    ENR
Production/                      to be produced with Plaintiffs’
Creation/                        Response to Bearden’s Second
Preparation                      Request for Production.

Document           3/2/2020      Prepare documents to be produced                0.7 $150.00     $105.00   ENR
Production/                      with Plaintiffs’ Response to
Creation/                        Bearden’s Second Request for
Preparation                      Production.
TOTAL                                                                            1.2             $180.00   ENR

Communicate        1/20/2021     Correspondences with all counsel                0.2 $375.00     $75.00    JCS
(other outside                   regarding depositions of Leslie
counsel)                         Carsey, Aaron York and Carrie
                                 Pfeifer.
Review/analyze     1/5/2021      Receive and review Order                        0.1 $375.00     $37.50    JCS
                                 establishing new discovery and
                                 dispositive motion deadlines.
Communicate        12/31/2020    Correspondences with co-counsel                 0.1 $375.00     $37.50    JCS
(other external)                 regarding Motion to Continue
                                 Scheduling Deadline.
Item               Date         Description                               hrs.       Rate      Total     Billed
                                                                                                         By
Communicate        12/31/2020   Correspondences with all counsel                 0.1 $375.00   $37.50    JCS
(other outside                  regarding discovery deadlines,
counsel)                        specifically depositions and
                                whereabouts of same.
Communicate        12/29/2020   Correspondences with all counsel                 0.1 $375.00   $37.50    JCS
(other outside                  regarding Court Order denying
counsel)                        continuance of deadlines, generally,
                                and plan for discovery, specifically,
                                depositions moving forward
                                including taking them virtually and
                                deadlines for same.
Communicate        12/29/2020   Correspondences with co-counsel                  0.1 $375.00   $37.50    JCS
(other outside                  regarding plan for depositions, who
counsel)                        to produce, who to request, how to
                                produce/take them (virtually v. in
                                person) and timeframe of same.

Draft/revise       12/21/2020   Continue to prepare Joint Motion to              0.2 $375.00   $75.00    JCS
                                Continue Generally the Discovery
                                Deadline, Dispositive Motion
                                Deadline, and Daubert Motion
                                Deadline
Review/analyze     11/19/2020   Receive and review Defendant                     0.2 $375.00   $75.00    JCS
                                Bearden’s First Supplemental
                                Responses and Objections to
                                Plaintiff’s First Request for
                                Production.
Review/analyze     10/1/2020    Review documents and confer with                 0.5 $375.00   $187.50   JCS
                                J. Ammann, B. Rodiger and R. Gavin
                                regarding document production (.4);
                                Bates label documents to be
                                produced (.1).

Communicate        9/9/2020     Continue to prepare email to                     0.1 $375.00   $37.50    JCS
(other external)                defense counsel regarding party and
                                fact witness depositions.
Communicate        9/4/2020     Telephone conference with all co-                0.2 $375.00   $75.00    JCS
(other external)                counsel regarding case status.

Communicate        9/2/2020     Correspondence with co-counsel to                0.1 $375.00   $37.50    JCS
(other external)                schedule conference call.

Communicate        8/26/2020    Correspondence with co-counsel                   0.1 $375.00   $37.50    JCS
(other external)                regarding Plaintiff's initial discovery
                                to serve on Defendants.
Item               Date        Description                           hrs.       Rate      Total     Billed
                                                                                                    By
Draft/revise       8/25/2020   Continue to prepare discovery                0.2 $375.00   $75.00    JCS
                               directed to Defendant Bearden.
Communicate        7/22/2020   Correspondences with team                    0.3 $375.00   $112.50   JCS
(other outside                 regarding subsequent therapy
counsel)                       records and experts to send same
                               to.
Communicate        7/16/2020   Receive and review correspondence            0.1 $375.00   $37.50    JCS
(other external)               from M. Pennycuff regarding phone
                               records to be produced.
Review/analyze     6/19/2020   Receive and review docket entry              0.2 $375.00   $75.00    JCS
                               entering Amended Scheduling Order
                               and calendar dates as-needed.
Review/analyze     6/19/2020   Receive and review Order setting             0.3 $375.00   $112.50   JCS
                               case for trial and all deadlines
                               associated with same and meet with
                               E. Roth and K. Corley regarding
                               same.
Communicate        6/15/2020   Correspondence with Ms. McIlvaine,           0.1 $375.00   $37.50    JCS
(other external)               Judge Phillip’s deputy, to send her
                               copy of Second Amended
                               Scheduling Order for entry pursuant
                               to docket entry.
Draft/revise       6/11/2020   Prepare Motion for Entry of Joint            0.3 $375.00   $112.50   JCS
                               Second Amended Scheduling Order
                               in Consolidated Cases
Draft/revise       6/11/2020   Finalize Joint Second Amended                0.2 $375.00   $75.00    JCS
                               Scheduling Order in Consolidated
                               Cases
Draft/revise       6/1/2020    Continue to prepare second                   0.1 $375.00   $37.50    JCS
                               amended joint scheduling order.

Communicate        6/1/2020    Continued correspondence with                0.1 $375.00   $37.50    JCS
(other outside                 Defense counsel regarding second
counsel)                       amended joint scheduling order.

Draft/revise       5/29/2020   Draft second amended scheduling              0.2 $375.00   $75.00    JCS
                               order given COVID limitations and
                               delays.
Communicate        5/26/2020   Correspondence to Defense Counsel            0.2 $375.00   $75.00    JCS
(other outside                 regarding status of case, need for
counsel)                       amended Scheduling Order, Expert
                               discovery and party discovery.
Item               Date        Description                               hrs.       Rate      Total     Billed
                                                                                                        By
Review/analyze     5/19/2020   Review Interrogatories directed to               0.3 $375.00   $112.50   JCS
                               Defendant Bearden drafted by J.
                               Ammann; Evaluate how to serve in
                               all cases and suggest additional
                               discovery to serve; Correspondence
                               with co-counsel regarding same.

Communicate        5/15/2020   Correspondence with co-counsel                   0.2 $375.00   $75.00    JCS
(other external)               regarding Scheduling Order and
                               need of new timeline of case.
Review/analyze     5/1/2020    Review, revise and continue to                   0.3 $375.00   $112.50   JCS
                               update information regarding fact
                               witnesses and their whereabouts for
                               purposes of responding to N.
                               Taulbee's request for depositions of
                               same.
Review/analyze     5/1/2020    Continue to review files, specifically           0.4 $375.00   $150.00   JCS
                               pleadings, Rule 26 disclosures to
                               identify witnesses for all parties, and
                               documents produced by DOC to
                               continue to analyze same.

Communicate        4/27/2020   Correspondence with C. Atwell                    0.1 $375.00   $37.50    JCS
(other external)               regarding mediation invoice
                               received to inquire about same as I
                               thought it had been paid by co-
                               counsel J. Ammann.
Communicate        4/27/2020   Correspondence with co-counsel                   0.1 $375.00   $37.50    JCS
(other outside                 regarding fact witness discovery.
counsel)
Communicate        4/22/2020   Correspondence with co-counsel, J.               0.1 $375.00   $37.50    JCS
(other outside                 Ammann regarding discovery to
counsel)                       serve on Defendant Bearden.

Review/analyze     4/8/2020    Receive and review Order canceling               0.2 $375.00   $75.00    JCS
                               pretrial and trial.
Communicate        4/7/2020    Correspondences with all counsel                 0.2 $375.00   $75.00    JCS
(other outside                 regarding witness depositions.
counsel)
Communicate        3/2/2020    Correspondence with all counsel                  0.1 $375.00   $37.50    JCS
(other outside                 regarding discovery, specifically
counsel)                       Plaintiff’s objections, answers and
                               responses and regarding requested
                               DOC depositions.
Item               Date        Description                            hrs.       Rate      Total     Billed
                                                                                                     By
Research           2/17/2020   Research lay witness contact                  0.1 $375.00   $37.50    JCS
                               information.
Communicate        2/12/2020   Conference call with S. McGraugh              0.2 $375.00   $75.00    JCS
(other external)               regarding offender-witness project,
                               specifically regarding our needs of
                               information, i.e., if they are
                               incarcerated or not currently and
                               what their contact information is if
                               they have been released.

Review/analyze     2/7/2020    Receive and review order from court           0.1 $375.00   $37.50    JCS
                               consolidating case with Betz, Dean
                               and Zieser for purposes of discovery
                               only and establishing deadlines for
                               discovery and dispositive motions.

Communicate        2/7/2020    Continued correspondences with co-            0.1 $375.00   $37.50    JCS
(other external)               counsel regarding documents to
                               request and depositions to get lined
                               up following order consolidating
                               cases.

Appear             2/6/2020    Attend lunch meeting with co-                 0.7 $375.00   $262.50   JCS
for/attend                     counsel and Dora Schriro.

Draft/revise       2/5/2020    Prepare discovery scheduling order            0.1 $375.00   $37.50    JCS
                               and correspondences with co-
                               counsel regarding filing same.

Review/analyze     2/5/2020    Review file and notes to continue to          0.3 $375.00   $112.50   JCS
                               update and create deposition list
                               and send/receive correspondences
                               between/among co-counsel
                               regarding strategy for same.

Communicate        1/8/2020    Correspondence with all counsel               0.1 $375.00   $37.50    JCS
(other outside                 regarding consolidating case.
counsel)
Appear             1/7/2020    Attend meeting with all co-counsel            0.2 $375.00   $75.00    JCS
for/attend                     regarding case status and strategy.

Communicate        1/6/2020    Correspondences among Plaintiff’s             0.1 $375.00   $37.50    JCS
(other outside                 counsel regarding Motion to
counsel)                       Consolidate.
Item               Date         Description                               hrs.       Rate      Total       Billed
                                                                                                           By
Communicate        12/17/2019   Correspondence with J. Ammann                    0.2 $375.00   $75.00      JCS
(other external)                regarding Defendant's expert
                                disclosure deadline of December 16,
                                2019 and us receiving nothing.

Communicate        12/12/2019   Correspondence with all counsel                  0.1 $375.00   $37.50      JCS
(other outside                  regarding consolidating pending
counsel)                        cases for purposes of discovery.
Communicate        12/10/2019   Correspondence with all counsel                  0.1 $375.00   $37.50      JCS
(other outside                  regarding consolidating pending
counsel)                        cases for discovery.

Communicate        12/3/2019    Review materials and attend                      0.4 $375.00   $150.00     JCS
(other outside                  conference call with all co-counsel
counsel)                        to discuss strategy and to-dos.

Communicate        10/30/2019   Receive and review cross-gender                  0.1 $375.00   $37.50      JCS
(other external)                frisks training manual.

Communicate        10/24/2019   Continued correspondence                         0.2 $375.00   $75.00      JCS
(other external)                regarding SAGR.
Time               10/14/2019   Review Dr. Schriro’ s expert report              2.4 $375.00   $900.00     JCS
                                (.7); Call with Dr. Schriro to finalize
                                expert report (.9); Review Dr.
                                Piasecki’s expert report (.2); Call
                                with Dr. Piasecki to finalize expert
                                report (.3); Discuss with team
                                amending pleadings to add V. Strum
                                back in as party-defendant (.3).
Time               10/8/2019    Execute fee agreement with Dr.                   0.2 $375.00   $75.00      JCS
                                Schriro, prison-system expert.

Time               10/1/2019    Review Complaint and other                       2.9 $375.00   $1,087.50   JCS
                                documents in preparation for
                                telephone conferences with experts
                                (0.3); Telephone conference with
                                forensic psychiatry expert (0.9);
                                Telephone conference with liability
                                expert (1.3); Multiple telephone
                                conferences with co-counsel (0.4).
Time               9/24/2019    Conference call with R. Gavin, J.                0.6 $375.00   $225.00     JCS
                                Ammann, B. Roediger, and S.
                                McGraugh regarding plans for
                                moving case forward.
Item   Date        Description                            hrs.       Rate      Total     Billed
                                                                                         By
Time   8/28/2019   Meet with team to discuss case to-            .5 $375.00    $187.50   JCS
                   dos.
Time   8/14/2019   Receive umpteen amount of record              0.4 $375.00   $150.00   JCS
                   received from the DOC and
                   exchange correspondence with J.
                   Ammann regarding review of same.

Time   8/1/2019    Various correspondences with R.               1.5 $375.00   $562.50   JCS
                   Gavin and J. Ammann regarding
                   30(b)(6) notices and Amendments to
                   the Petition; Continue to prepare
                   30(b)(6) notices and (30(b)(2) duces
                   tecum.
Time   7/29/2019   Review Protective Order (.1);                 0.2 $375.00   $75.00    JCS
                   Correspondence with counsel of
                   record regarding Protective Order
                   (.1).
Time   7/18/2019   Receive and review emails from                0.2 $375.00   $75.00    JCS
                   counsel of record regarding
                   scheduling order.
Time   7/15/2019   Correspondences with counsel of               0.3 $375.00   $112.50   JCS
                   record and Plaintiff's counsel team
                   regarding scheduling order.

Time   7/15/2019   Continued correspondence with                 0.2 $375.00   $75.00    JCS
                   team regarding scheduling order.

Time   7/9/2019    Correspondence with Plaintiff’s               0.2 $375.00   $75.00    JCS
                   team regarding exclusionary trial
                   dates for 2020 for purposes of
                   finalizing the scheduling order.

Time   7/3/2019    Conference call with team to discuss          0.4 $375.00   $150.00   JCS
                   strategy.

Time   7/2/2019    Correspondence with team to                   0.5 $375.00   $187.50   JCS
                   schedule conference call to discuss
                   scheduling order and strategy
                   moving forward.
Time   7/1/2019    Review drafts of scheduling order             0.2 $375.00   $75.00    JCS
                   for entry.
Time   6/26/2019   Continued correspondences with                0.1 $375.00   $37.50    JCS
                   counsel of record regarding lifting
                   the stay.
Item   Date         Description                             hrs.       Rate      Total       Billed
                                                                                             By
Time   6/24/2019    Review Proposed Motion to Lift                 0.1 $375.00   $37.50      JCS
                    Stay; Correspondence with Plaintiff's
                    team regarding same.
Time   4/29/2019    Receive and Review Order Granting              0.1 $375.00   $37.50      JCS
                    Joint Motion to Extend Stay until
                    July 1, 2019.
Time   4/25/2019    Correspondences with all counsel of            0.2 $375.00   $75.00      JCS
                    record regarding extension of stay
                    of proceedings.
Time   4/24/2019    Correspondence with Plaintiffs’                0.1 $375.00   $37.50      JCS
                    counsel regarding continued stay;
                    Review and review Joint Motion for
                    Continued Stay.
Time   2/1/2019     Correspondences with K. Keil                   0.2 $375.00   $75.00      JCS
                    regarding newspaper article and her
                    results re: not returning to CCC.

Time   1/28/2019    Receive and review DOC's objections            0.4 $375.00   $150.00     JCS
                    to Plaintiff's initial discovery to
                    Defendant Bearden.

Time   12/17/2018   Conference with plaintiff counsel               2 $375.00    $750.00     JCS
                    team regarding discovery and trial
                    preparation.

Time   12/10/2018   Telephone conference call with J.              0.5 $375.00   $187.50     JCS
                    Ammann, B. Rodieger, and S.
                    McGraugh regarding cases, including
                    to-dos and fees.
Time   12/6/2018    Various correspondences with all               0.5 $375.00   $187.50     JCS
                    counsel of record to discuss dates
                    for new scheduling order per Court
                    Order.
Time   12/3/2018    Draft Amended Scheduling Order.                1.5 $375.00   $562.50     JCS

Time   12/2/2018    Correspondence with counsel of                 2.8 $375.00   $1,050.00   JCS
                    record regarding protective order
                    and amended scheduling order.
Time   11/29/2018   Correspondence with J. Amman                   1.2 $375.00   $450.00     JCS
                    regarding case to-do's; Telephone
                    conference with client, Karen Keil.
Item   Date         Description                              hrs.       Rate      Total     Billed
                                                                                            By
Time   11/13/2018   Receive and review correspondence               0.3 $375.00   $112.50   JCS
                    from mediator regarding potential
                    conflict; Receive and review all
                    parties' responses to same.

Time   11/12/2018   Continue to draft 30(b)(6) motion;              0.5 $375.00   $187.50   JCS
                    Correspondences with team
                    regarding Mr. Bearden's deposition
                    including travel arrangements and
                    substance.
Time   11/9/2018    Continue to review 30(b)(6) topic               1.5 $375.00   $562.50   JCS
                    and deposition topics for Mr.
                    Bearden and/or corporate
                    representatives and the DOC;
                    Further correspondences with J.
                    Ammann et al. regarding same.

Time   11/2/2018    Correspondence with counsel of                  0.2 $375.00   $75.00    JCS
                    record to reschedule Mr. Bearden's
                    deposition.
Time   11/1/2018    Review and revise Protective Order;             1.1 $375.00   $412.50   JCS
                    Review and comment on list of
                    experts S. McGraugh and R. Gavin
                    found; Initial preparation of 30(b)(6)
                    subpoena and accompanying exhibit
                    including contacting DOC to inquire
                    who to address subpoena to.
Time   10/31/2018   Receive and review deposition                   0.2 $375.00   $75.00    JCS
                    notice for Mr. Bearden.
Time   10/30/2018   Telephone conference with team;                 1.1 $375.00   $412.50   JCS
                    Review and redline Proposed
                    Protective Order; Review proposed
                    experts.
Time   10/29/2018   Continued correspondence with SLU               0.5 $375.00   $187.50   JCS
                    Law Clinic regarding Mr. Bearden's
                    deposition, mediation, and experts.
Time   10/25/2018   Review relevant rules and draft                 0.5 $375.00   $187.50   JCS
                    30(b)(6) subpoena.
Time   10/24/2018   Correspondence with team                        0.4 $375.00   $150.00   JCS
                    regarding Plaintiff's answers and
                    responses to Defendant Bearden's
                    initial discovery.
Item   Date         Description                             hrs.       Rate      Total     Billed
                                                                                           By
Time   10/18/2018   Conference call with SLU Law Clinic            0.5 $375.00   $187.50   JCS
                    to discuss case to-dos and general
                    strategies.
Time   10/15/2018   Review and revise Plaintiff's initial          1.5 $375.00   $562.50   JCS
                    discovery objections, answers and
                    responses; Follow up on other to-
                    dos to prepare for Mr. Bearden's
                    deposition, mediation, and expert
                    disclosures.
Time   9/19/2018    Continued correspondences among                0.4 $375.00   $150.00   JCS
                    counsel of record to schedule Mr.
                    Bearden's deposition.
Time   9/12/2018    Continued correspondences to                   0.4 $375.00   $150.00   JCS
                    schedule Mr. Bearden's deposition.

Time   9/7/2018     Correspondences with counsel of                0.4 $375.00   $150.00   JCS
                    record to schedule Mr. Bearden's
                    deposition.
Time   8/16/2018    Conference call to discuss                     0.4 $375.00   $150.00   JCS
                    mediators.
Time   8/14/2018    Various correspondences and                    0.5 $375.00   $187.50   JCS
                    research into mediators to circulate
                    to all counsel of record.
Time   8/10/2018    Receive and review                             0.4 $375.00   $150.00   JCS
                    correspondences from counsel of
                    record regarding joint scheduling
                    order.
Time   7/31/2018    Receive and review Defendant                   0.5 $375.00   $187.50   JCS
                    Sturm's Motion to Dismiss.; Receive
                    and review Defendant Edward
                    Bearden's Answer and Affirmative
                    Defenses.
Time   7/12/2018    Revise Plaintiff's Motion to Extend            0.4 $375.00   $150.00   JCS
                    Deadlines for Filing of Joint
                    Proposed Scheduling Order and Rule
                    26(f) Conference; Various
                    correspondences with John
                    Ammann regarding same.
Time   6/29/2018    Team Conference Call.                          0.5 $375.00   $187.50   JCS
Item           Date         Description                              hrs.       Rate      Total        Billed
                                                                                                       By
Time           5/28/2018    Continue to review and revise                   0.8 $375.00   $300.00      JCS
                            release and Complaint;
                            correspondence with J. Ammann
                            regarding same.
Time           5/24/2018    Correspondence with J. Ammann                   0.8 $375.00   $300.00      JCS
                            and conference with R. Gavin
                            regarding Release and KGS's
                            involvement in this suit moving
                            forward; review and finalize Release.
Time           5/22/2018    Review complaint and records                    2.9 $375.00   $1,087.50    JCS
                            received to date; correspondence
                            with co-counsel to address strategy;
                            create file.

Time           5/18/2018    Meeting with John Ammann                         2 $375.00    $750.00      JCS
                            regarding prison assault cases.
Non-billable
Time
Time           11/15/2018   Attend Mr. Bearden's Deposition;                11 $375.00    $4,125.00    JCS
                            Return travel to St. Louis; Prepare
                            and file Plaintiff's Motion to Extend
                            Scheduling Order Deadlines or, in
                            the alternative, Motion for Leave to
                            File Amended Scheduling Order.
Time           11/14/2018   Travel to Kansas City for Mr.                   4.5 $375.00   $1,687.50    JCS
                            Bearden's November 15, 2018
                            deposition.



TOTAL                                                                   64.1              $18,225.00   JCS

Time           8/1/2019     Prepare exhibits to Motion to                   0.3 $150.00   $45.00       KAR
                            Amend Complaint.
Time           7/29/2019    Review Scheduling Order.                        0.1 $150.00   $15.00       KAR
Time           12/12/2018   Review amended scheduling                       0.3 $150.00   $45.00       KAR
                            deadlines and adjust calendar
                            accordingly
Time           9/10/2018    Review and process Plaintiff's Initial          0.2 $150.00   $30.00       KAR
                            Disclosures.
Item               Date         Description                            hrs.         Rate    Total     Billed
                                                                                                      By
Other Case         8/28/2018    Calculate and calendar deadlines set          0.6 $150.00   $90.00    KAR
Assessment,                     forth in Scheduling and Trial Order
Development                     entered on August 27, 2018.
and
Administration
Time               8/27/2018    Review and process scheduling and             0.3 $150.00   $45.00    KAR
                                trial order and compare to joint
                                scheduling order provided by the
                                parties.
Time               8/16/2018    Review Joint Scheduling Plan and              0.4 $150.00   $60.00    KAR
                                calendar same.
Time               6/27/2018    Review Order Setting Deadlines for            0.2 $150.00   $30.00    KAR
                                Filing Joint Proposed Scheduling
                                Order.
TOTAL                                                                         2.4           $360.00   KAR

Review/analyze     1/5/2021     Receive and review Court order                0.1 $425.00   $42.50    RJG
                                granting Motion to Amend
                                Scheduling Order.
Review/analyze     11/19/2020   Receive and review Edward                     0.2 $425.00   $85.00    RJG
                                Bearden's Supplemental Responses
                                to Plaintiff's First Request for
                                Production.
Communicate (in    10/1/2020    Review documents and confer with              0.2 $425.00   $85.00    RJG
firm)                           J. Snow regarding document
                                production.
Communicate        9/4/2020     Telephone conference with all co-             0.4 $425.00   $170.00   RJG
(other external)                counsel regarding case status.

Communicate        9/2/2020     Receive and review email                      0.2 $425.00   $85.00    RJG
(other external)                correspondence from Mr. Taulbee
                                and Mr. Ammann regarding
                                depositions of witnesses.

Communicate        7/22/2020    Exchange email correspondence                 0.2 $425.00   $85.00    RJG
(other external)                with counsel regarding additional
                                therapy records.
Review/analyze     6/19/2020    Receive and review Third Amended              0.1 $425.00   $42.50    RJG
                                Scheduling Order entered by Court.
Item               Date        Description                           hrs.       Rate      Total     Billed
                                                                                                    By
Communicate        6/5/2020    Receive and review email                     0.1 $425.00   $42.50    RJG
(other external)               correspondence from counsel
                               regarding amendment of scheduling
                               order.
Communicate        5/14/2020   Exchange email correspondence                0.2 $425.00   $85.00    RJG
(other external)               among co-counsel regarding
                               scheduling orders and related
                               matters.
Review/analyze     4/30/2020   Review pleadings and discovery in            0.7 $425.00   $297.50   RJG
                               preparation for strategy conference
                               with J. Snow.
Review/analyze     4/8/2020    Receive and review Court order               0.1 $425.00   $42.50    RJG
                               canceling pre-trial conference and
                               trial setting.
Communicate        4/7/2020    Receive and review email                     0.1 $425.00   $42.50    RJG
(other external)               correspondence from Mr. Taulbee
                               regarding witnesses to be deposed.

Communicate        4/7/2020    Receive and review emails from all           0.3 $425.00   $127.50   RJG
(other external)               co-counsel regarding depositions to
                               be conducted.
Communicate        4/7/2020    Receive and review email                     0.1 $425.00   $42.50    RJG
(other external)               correspondence from Mr. Buchheit
                               regarding witnesses to be produced
                               for deposition.
Communicate        3/23/2020   Receive and review email                     0.2 $425.00   $85.00    RJG
(other external)               correspondence from counsel
                               regarding Plaintiff's responses to
                               discovery.
Communicate        3/4/2020    Receive and review email                     0.2 $425.00   $85.00    RJG
(other external)               correspondence from Mr. Ammann
                               regarding production of
                               communications with Dr. Schriro
                               and attached documents.
Appear             3/2/2020    Receive and review Plaintiff's               0.2 $425.00   $85.00    RJG
for/attend                     Response to Defendant's Request
                               for Production.
Appear             2/20/2020   Receive and review email                     0.1 $425.00   $42.50    RJG
for/attend                     correspondence from Ms. Pennycuff
                               regarding document production.
Item               Date         Description                              hrs.       Rate      Total     Billed
                                                                                                        By
Review/analyze     2/7/2020     Receive and review Court order                  0.3 $425.00   $127.50   RJG
                                granting Motion to Consolidate and
                                exchange email correspondence
                                with co-counsel regarding same.

Appear             2/6/2020     Attend lunch meeting with co-                   0.7 $425.00   $297.50   RJG
for/attend                      counsel and Dora Schriro.
Communicate        1/25/2020    Receive and review email                        0.1 $425.00   $42.50    RJG
(other external)                correspondence from Ms.
                                McGraugh regarding scheduling
                                order.
Appear             1/14/2020    Receive and review email                        0.1 $425.00   $42.50    RJG
for/attend                      correspondence from Mr. Ammann
                                and Mr. Taulbee regarding
                                outstanding discovery issues.
Communicate        1/13/2020    Receive and review email                        0.2 $425.00   $85.00    RJG
(other external)                correspondence from Mr. Taulbee
                                and Mr. Ammann regarding
                                deposition of Plaintiff.
Communicate        1/8/2020     Receive and review email                        0.2 $425.00   $85.00    RJG
(other external)                correspondence from all counsel
                                regarding Motion to Consolidate.

Communicate        1/8/2020     Receive and review email                        0.2 $425.00   $85.00    RJG
(other external)                correspondence from counsel
                                regarding the deposition of Plaintiff.

Plan and prepare   1/7/2020     Review file in preparation for                  0.2 $425.00   $85.00    RJG
for                             conference call with all counsel.

Appear             1/7/2020     Attend meeting with all co-counsel              0.2 $425.00   $85.00    RJG
for/attend                      regarding case status and strategy.

Draft/revise       1/7/2020     Continue preparation of Motion to               0.7 $425.00   $297.50   RJG
                                Consolidate.
Appear             12/20/2019   Receive and review correspondence               0.1 $425.00   $42.50    RJG
for/attend                      from Mr. Ammann and Mr. Taulbee
                                regarding Defendant's expert
                                disclosures.
Communicate        12/19/2019   Exchange email correspondence                   0.2 $425.00   $85.00    RJG
(other outside                  with all co-counsel regarding
counsel)                        Defendant's failure to disclose
                                expert witnesses.
Item               Date         Description                              hrs.       Rate      Total     Billed
                                                                                                        By
Communicate        12/13/2019   Receive and review email                        0.2 $425.00   $85.00    RJG
(other external)                correspondence from Mr. Taulbee
                                regarding Plaintiff's discovery
                                responses.
Communicate        12/10/2019   Receive and review email                        0.1 $425.00   $42.50    RJG
(other external)                correspondence from Mr. Ammann
                                regarding consolidation of discovery
                                in remaining cases.
Draft/revise       12/6/2019    Review and revise proposed Motion               0.1 $425.00   $42.50    RJG
                                to Dismiss with Prejudice.
Communicate        12/3/2019    Review materials and attend                     1.1 $425.00   $467.50   RJG
(other external)                conference call with all co-counsel.

Communicate        12/2/2019    Receive and review email                        0.1 $425.00   $42.50    RJG
(other external)                correspondence from Mr. Ammann
                                and Mr. Taulbee regarding the
                                deposition of Karen Keil.

Communicate        11/25/2019   Receive and review email                        0.1 $425.00   $42.50    RJG
(other external)                correspondence from Mr. Taulbee
                                regarding the deposition of Plaintiff.

Communicate        11/22/2019   Receive and review email                        0.1 $425.00   $42.50    RJG
(other outside                  correspondence from Mr. Ammann
counsel)                        regarding the deposition of Plaintiff.

Communicate        11/6/2019    Receive and review email                        0.1 $425.00   $42.50    RJG
(other external)                correspondence from Mr. Taulbee
                                regarding the deposition of Plaintiff.

Communicate        11/6/2019    Exchange email correspondence                   0.2 $425.00   $85.00    RJG
(other external)                with all co-counsel regarding
                                deposition of Plaintiff and potential
                                motion to consolidate.
Time               10/15/2019   Exchange email correspondence                   0.2 $425.00   $85.00    RJG
                                with co-counsel regarding expert
                                disclosures.
Review/analyze     10/15/2019   Review and analyze therapy records              0.4 $425.00   $170.00   RJG
                                to be produced with expert witness
                                disclosures.
Time               10/14/2019   Review draft reports prepared by                0.4 $425.00   $170.00   RJG
                                expert witnesses.
Review/analyze     10/11/2019   Initial review and analysis of draft            0.7 $425.00   $297.50   RJG
                                report received from Dora Schriro.
Item             Date         Description                           hrs.       Rate      Total       Billed
                                                                                                     By
Review/analyze   10/11/2019   Review and analyze report of Dr.             0.3 $425.00   $127.50     RJG
                              Piasecki.
Time             10/3/2019    Review proposed expert retention             0.2 $425.00   $85.00      RJG
                              agreement and exchange email
                              correspondence with co-counsel
                              regarding same.

Time             10/1/2019    Review Complaint and other                   2.9 $425.00   $1,232.50   RJG
                              documents in preparation for
                              telephone conferences with experts
                              (0.3); Telephone conference with
                              forensic psychiatry expert (0.9);
                              Telephone conference with liability
                              expert (1.3); Multiple telephone
                              conferences with co-counsel (0.4).
Time             9/3/2019     Receive and review Court order               0.1 $425.00   $42.50      RJG
                              granting extension of time for
                              Plaintiff to file reply.
Time             8/16/2019    Review and analyze Defendant's               0.5 $425.00   $212.50     RJG
                              Suggestions in Opposition to
                              Plaintiff's Motion for Leave to
                              Amend.
Time             8/14/2019    Initial review of document                   1.2 $425.00   $510.00     RJG
                              production by Department of
                              Corrections.
Time             8/14/2019    Exchange email correspondence                0.3 $425.00   $127.50     RJG
                              with co-counsel regarding document
                              production and related matters.

Time             8/9/2019     Receive email correspondence from            0.1 $425.00   $42.50      RJG
                              Mr. Ammann regarding Department
                              of Corrections document
                              production.
Time             8/7/2019     Receive and review Joint Motion for          0.2 $425.00   $85.00      RJG
                              Protective Order.
Time             8/2/2019     Complete preparation of Motion for           0.3 $425.00   $127.50     RJG
                              Leave to Amend and Suggestions in
                              Support.
Item   Date        Description                            hrs.       Rate      Total       Billed
                                                                                           By
Time   8/1/2019    Continue preparation of Motion for            4.3 $425.00   $1,827.50   RJG
                   Leave to Amend; Continue
                   preparation of Suggestions in
                   Support of Motion for Leave to
                   Amend; Multiple email
                   communications with J. Snow and J.
                   Ammann regarding amended
                   complaint and discovery; Prepare
                   email correspondence to all counsel
                   regarding Motion for Leave to
                   Amend and discovery.
Time   7/31/2019   Research and continued preparation            0.5 $425.00   $212.50     RJG
                   of Motion to Amend Complaint.

Time   7/24/2019   Receive and review amended                    0.1 $425.00   $42.50      RJG
                   scheduling order.
Time   7/22/2019   Receive and review email                      0.2 $425.00   $85.00      RJG
                   correspondence from counsel
                   regarding proposed protective
                   order.
Time   7/17/2019   Receive and review order granting             0.1 $425.00   $42.50      RJG
                   Motion for Extension of Time to File
                   Joint Proposed Amended Scheduling
                   Order.
Time   7/17/2019   Continue preparation of Joint                 0.4 $425.00   $170.00     RJG
                   Proposed Amended Scheduling
                   Order; Exchange email
                   correspondence with co-counsel
                   regarding potential expert and
                   scheduling order; Prepare email
                   correspondence to all counsel
                   regarding scheduling order.
Item   Date         Description                             hrs.       Rate      Total     Billed
                                                                                           By
Time   7/16/2019    Multiple email communications with             1.7 $425.00   $722.50   RJG
                    co-counsel regarding scheduling
                    order; Prepare proposed joint
                    amended scheduling order;
                    Exchange email correspondence
                    with all counsel regarding extension
                    of time to file joint proposed
                    amended scheduling order; Review
                    status of discovery prior to entry of
                    stay; Prepare motion for extension
                    of time to file joint proposed
                    amended scheduling order.
Time   7/15/2019    Review prior discovery and                     0.8 $425.00   $340.00   RJG
                    scheduling documents; Exchange
                    email correspondence with all
                    plaintiff's counsel regarding
                    scheduling order; Prepare Joint
                    Proposed Scheduling Order.
Time   7/3/2019     Conference call with counsel                   0.3 $425.00   $127.50   RJG
                    regarding scheduling and trial
                    preparation.
Time   7/2/2019     Exchange email correspondence                  0.1 $425.00   $42.50    RJG
                    with counsel regarding scheduling
                    order.
Time   7/1/2019     Exchange email correspondence                  0.2 $425.00   $85.00    RJG
                    with co-counsel regarding
                    scheduling order.
Time   1/8/2019     Receive and review email                       0.1 $425.00   $42.50    RJG
                    correspondence from Mr. Taulbee
                    regarding proposed protective
                    order.
Time   12/17/2018   Conference with plaintiff counsel              1.5 $425.00   $637.50   RJG
                    team regarding discovery and trial
                    preparation.

Time   12/11/2018   Receive and review email                       0.1 $425.00   $42.50    RJG
                    correspondence from Mr. Ammann
                    regarding status.
Time   12/11/2018   Receive and review order amending              0.1 $425.00   $42.50    RJG
                    scheduling deadlines.
Item   Date         Description                            hrs.       Rate      Total     Billed
                                                                                          By
Time   12/10/2018   Receive and review email                      0.1 $425.00   $42.50    RJG
                    correspondence from Mr. Ammann
                    regarding subpoena to Department
                    of Corrections.
Time   12/6/2018    Receive and review email                      0.2 $425.00   $85.00    RJG
                    correspondence from defense
                    counsel regarding amended
                    scheduling order.
Time   12/4/2018    Receive and review email                      0.1 $425.00   $42.50    RJG
                    correspondence from Mr. Taulbee
                    regarding proposed amended
                    scheduling order.
Time   12/3/2018    Review proposed amended                       0.3 $425.00   $127.50   RJG
                    scheduling order.

Time   11/16/2018   Research and review PeopleMap                 0.6 $425.00   $255.00   RJG
                    report on Edward Bearden.
Time   11/16/2018   Receive and review treatment                  0.1 $425.00   $42.50    RJG
                    report of Plaintiff's therapist.
Time   11/15/2018   Receive and review Motion to                  0.1 $425.00   $42.50    RJG
                    Amend Scheduling Order.
Time   11/12/2018   Receive and review proposed list of           0.2 $425.00   $85.00    RJG
                    Rule 30(b)(6) deposition topics.

Time   11/9/2018    Continue preparation of potential             1.6 $425.00   $680.00   RJG
                    deposition topics and questions.
Time   11/8/2018    Exchange email correspondence                  1 $425.00    $425.00   RJG
                    with Mr. Ammann regarding
                    deposition topics and expert
                    disclosures; Review Federal Rules of
                    Civil Procedure regarding expert
                    witness disclosures.

Time   11/2/2018    Review pleadings, records and                 1.8 $425.00   $765.00   RJG
                    discovery in connection with
                    preparing for the deposition of John
                    Bearden and other discovery;
                    Research regarding Missouri
                    Department of Corrections,
                    Chillicothe Correctional Center, and
                    the Prison Rape Elimination Act.
Item   Date         Description                           hrs.       Rate      Total     Billed
                                                                                         By
Time   11/2/2018    Receive and review email                     0.2 $425.00   $85.00    RJG
                    correspondence from all counsel
                    regarding the deposition of Mr.
                    Bearden.
Time   11/1/2018    Continue preparation of proposed             0.2 $425.00   $85.00    RJG
                    protective order.
Time   10/31/2018   Review proposed stipulated                   0.2 $425.00   $85.00    RJG
                    protective order as edited by J.
                    Ammann.
Time   10/30/2018   Attend telephone conference with              1 $425.00    $425.00   RJG
                    all counsel for Plaintiff; Research
                    regarding potential damages
                    experts; Review notice of
                    deposition, document request, and
                    research regarding application of
                    Rule 34 to deposition accompanied
                    by document request.
Time   10/15/2018   Continue preparation of Answers to           0.5 $425.00   $212.50   RJG
                    Interrogatories; Continue
                    preparation of Responses to
                    Request for Production.
Time   10/12/2018   Attend conference call with all              0.5 $425.00   $212.50   RJG
                    counsel for Plaintiff.
Time   10/5/2018    Attend telephone conference with             0.6 $425.00   $255.00   RJG
                    team regarding case status; Attend
                    second telephone conference with
                    team and representative of Missouri
                    Attorney General.

Time   9/26/2018    Review proposed protective order             0.8 $425.00   $340.00   RJG
                    and prepare email correspondence
                    to co-counsel regarding same.

Time   9/19/2018    Receive and review Defendant's               0.2 $425.00   $85.00    RJG
                    proposed protective order.

Time   9/14/2018    Receive and review Edward                    0.2 $425.00   $85.00    RJG
                    Bearden's Interrogatories and
                    Request for Production Directed to
                    Plaintiff.
Time   9/10/2018    Review and analyze Plaintiff's Rule          0.2 $425.00   $85.00    RJG
                    26 Disclosures and case status.
Item          Date        Description                          hrs.       Rate      Total        Billed
                                                                                                 By
Time          9/6/2018    Receive and review Scheduling and           0.1 $425.00   $42.50       RJG
                          Trial Order.
Time          8/16/2018   Conference with J. Snow and co-             0.3 $425.00   $127.50      RJG
                          counsel regarding mediator and
                          related matters.
Time          8/8/2018    Telephone conference with team              0.4 $425.00   $170.00      RJG
                          regarding pending Motion to
                          Dismiss and other matters.
Time          7/31/2018   Receive and review Vevia Sturm's            0.2 $425.00   $85.00       RJG
                          Motion to Dismiss and
                          Memorandum in Support.
Time          6/29/2018   Telephone conference with co-               0.5 $425.00   $212.50      RJG
                          counsel regarding scheduling order
                          and related matters.
Time          6/27/2018   Receive and review Defendant's              0.2 $425.00   $85.00       RJG
                          Reply in Support of Motion to
                          Dismiss.
TOTAL                                                             39.7              $16,872.50   RJG


GRAND TOTAL                                                    159.10               $35,772.50
Law Office of Joan M. Swartz                                                     Law Office of Joan M. Swartz
3348 Greenwood Blvd.
St. Louis, MO 63143
United States
(314) 471-2032




SLU Law Clinic Cases                                                                       Balance       $21,091.89
                                                                                           Invoice #     00697
                                                                                           Invoice Date  May 10, 2022
                                                                                           Payment Terms
                                                                                           Due Date




Keil v. Bearden

Time Entries

Date         EE    Activity           Description                                                Rate   Hours   Line Total
02/01/2021   JCS   Review             Review documents produced by DOC                        $375.00     1.0    $375.00

02/03/2021   JCS   Draft Documents    Prepare Notice of Change of Address                     $375.00     0.2     $75.00

                                      Various correspondences with all counsel
02/03/2021   JCS   Correspondence                                                             $375.00     0.2     $75.00
                                      regarding upcoming party and witness depositions.
                                      Telephone correspondence with co-counsel to
02/08/2021   JCS   Correspondence     discuss deposition testimony, upcoming                  $375.00     0.2     $75.00
                                      depositions and case theories moving forward.
                   Confer with co-    Correspondences with co-counsel regarding
02/18/2021   JCS                                                                              $375.00     0.1     $37.50
                   counsel            upcoming depositions.
                   Confer with co-    Telephone conference call with J. Ammann to
02/25/2021   JCS                                                                              $375.00     0.1     $37.50
                   counsel            catch up on depositions in all cases.

                   Confer with        Continued correspondences with all counsel
03/05/2021   JCS                                                                              $375.00     0.1     $37.50
                   opposing counsel   regarding depositions.
                                      Continued correspondences with all counsel
03/12/2021   JCS   Correspondence                                                             $375.00     0.1     $37.50
                                      regarding party depositions.

                                      Correspondences with team and with defense
                                      counsel regarding reopening settlement
                                      negotiations before 20+ more depositions and trial      $375.00            $187.50
03/15/2021   JCS   Correspondence                                                                         0.5
                                      prep occurs; Correspondences with co-counsel
                                      regarding upcoming depositions and strategy for
                                      same.
                   Draft
03/15/2021   JCS                      Continue to prepare supplemental disclosures.           $375.00     0.1     $37.50
                   Correspondence

                                      Phone conference with J. Ammann and B.
                   Confer with co-
03/24/2021   JCS                      Roediger to discuss settlement, specifically            $375.00     0.2     $75.00
                   counsel
                                      demand amounts and strategy for making same.

03/28/2021   JCS   Correspondence     Make demand via email to defense counsel.               $375.00     0.2     $75.00
                   Confer with co-    Correspondence with co-counsel re: discussions
03/31/2021   JCS                                                                              $375.00     0.1     $37.50
                   counsel            with Defense Counsel relating to settlement.
                                      Continued correspondences with co-counsel
                   Confer with co-
04/01/2021   JCS                      regarding settlement negotiations and                   $375.00   0.1    $37.50
                   counsel
                                      supplemental disclosures.
                   Confer with        Correspondence with P. Brown and N. Taublee to
04/02/2021   JCS                                                                              $375.00   0.1    $37.50
                   opposing counsel   schedule April 6th mediation.

                                      Correspondences with co-counsel regarding
                                      mediation, specifically our position re: mediator,
                   Confer with co-
04/02/2021   JCS                      value of each case, and to-do's between now and         $375.00   0.3   $112.50
                   counsel
                                      mediation including mediation statement to prepare
                                      and calls to clients to make.

                                      Continue to prepare Plaintiffs' Joint Mediation
04/04/2021   JCS   Draft Documents    Statement; Correspondences with co-counsel              $375.00   0.2    $75.00
                                      regarding same.

                   Confer with        Correspondences with opposing counsel regarding
04/05/2021   JCS                                                                              $375.00   0.1    $37.50
                   opposing counsel   cancellation of mediation.
                                      Correspondences with co-counsel regarding
                   Confer with co-
04/05/2021   JCS                      mediation statement and then cancellation of            $375.00   0.1    $37.50
                   counsel
                                      mediation.
04/05/2021   JCS   Draft Documents    Finalize and submit mediation statement.                $375.00   0.1    $37.50

                                      Correspondence with J. Ammann and B. Rodieger
                   Confer with co-
04/06/2021   JCS                      regarding to-do's following defense counsel's           $375.00   0.1    $37.50
                   counsel
                                      abrupt cancellation of mediation.
                                      Correspondences with defense counsel regarding
                   Confer with
04/07/2021   JCS                      discovery, deposition scheduling, kicking trial         $375.00   0.2    $75.00
                   opposing counsel
                                      settings and discovery cut-off dates
                                      Correspondences with co-counsel regarding
                   Confer with co-    discovery, deposition scheduling, kicking trial
04/07/2021   JCS                                                                              $375.00   0.2    $75.00
                   counsel            settings and discovery cut-off dates, and testimony
                                      elicited and to be elicited.

                                      Receive and review Court Order resetting case for
04/13/2021   JCS   Review             trial and other relevant pretrial deadlines; calendar   $375.00   0.3   $112.50
                                      same.
                                      Receive and review Court order extending
04/13/2021   JCS   Review             discovery deadlines and revising scheduling orders      $375.00   0.1    $37.50
                                      in consolidated cases.

                                      Various correspondences with team re: party
04/15/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      depositions.

                                      Correspondences with all counsel re: party
04/16/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      depositions.
                   Confer with co-    Conference call with co-counsel to discuss defense
05/14/2021   JCS                                                                              $375.00   0.1    $37.50
                   counsel            strategy and to-do's.

                                      Correspondences with co-counsel to set up
06/11/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      meeting to discuss cases.

                                      Meet with co-counsel and team to go over all
06/15/2021   JCS   Conference                                                                 $375.00   0.4   $150.00
                                      cases, prepare to-dos and discuss strategy.
                                      Correspondence to all counsel of record canceling
06/16/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      Briesacher's deposition.

                                      Correspondences with all counsel regarding call
07/08/2021   JCS   Correspondence     from Katie Moore from Kansas City Star and plan         $375.00   0.1    $37.50
                                      for media involvement moving forward.

                                      Correspondences with all counsel regarding
07/13/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      upcoming depositions in consolidated cases.
                                      Telephone conference with team re: strategy of
07/14/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      cases moving forward.

                   Confer with co-    Call w/ John Ammann re: strategy and to-dos with
07/29/2021   JCS                                                                              $375.00   0.2    $75.00
                   counsel            discovery deadline being tomorrow, July 30, 2021.
                                      Correspondence with co-counsel regarding
08/01/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      Defendant Bearden’s shifts and hours worked

                                      Receive and review telephone logs from
08/06/2021   JCS   Review             DOJ/DOC; Correspondence with J. Ammann, co-             $375.00   0.2    $75.00
                                      counsel, regarding same

                                      Receive and initial review Defendants' Daubert
08/13/2021   JCS   Review                                                                     $375.00   0.2    $75.00
                                      Motions
                                      Telephone correspondence with Laurel Stevenson
08/20/2021   JCS   Correspondence     re: cases and MAP program and mediation v.              $375.00   0.2    $75.00
                                      informal resolution of each.

                                      Prepare settlement correspondence to L.
08/20/2021   JCS   Draft Documents    Stevenson and send her same, along with May             $375.00   0.3   $112.50
                                      2021 settlement statement.

                                      Review Defendants' Motions to Exclude Expert
08/22/2021   JCS   Review                                                                     $375.00   0.2    $75.00
                                      Opinions.
                                      Begin to prepare Plaintiffs' Responses to
08/22/2021   JCS   Draft Documents                                                            $375.00   0.4   $150.00
                                      Defendants' Motions to Exclude Expert Opinions.

                                      Telephone conference call with MAP Coordinator
08/26/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      to discuss and schedule mediatio

                   Confer with co-    Correspondence with co-counsel re; upcoming
08/29/2021   JCS                                                                              $375.00   0.1    $37.50
                   counsel            mediations and strategy for same.
                                      Continue to prepare Responses in Opposition to
08/30/2021   JCS   Draft Documents                                                            $375.00   0.4   $150.00
                                      Defendant(s)' Motion to Exclude Expert Opinions

08/30/2021                            Finalize and file Plaintiff's Responses in Opposition
             JCS   File                                                                       $375.00   0.2    $75.00
                                      to Defendant(s)' Motion to Exclude Expert Opinions

                                      Ongoing correspondences with co-counsel
08/30/2021   JCS   Correspondence     regarding responses to dispositive and daubert          $375.00   0.2    $75.00
                                      motoins
                                      Correspondence with team re: upcoming deadlines
09/03/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      and mediation.

                                      Attend Part I of mediation with all counsel and
09/07/2021   JCS   Attend Mediation                                                           $375.00   0.5   $187.50
                                      Laurel Stevenson

                                      Review file and settlements and verdicts found to
09/07/2021   JCS   Review             prepare for mediation with all counsel and Laurel       $375.00   0.2    $75.00
                                      Stevenson
                                      Correspondence with various attorneys re:
09/09/2021   JCS   Correspondence                                                             $375.00   0.6   $225.00
                                      "summary jury trial" to evaluate same

09/21/2021                            Correspondences with team re: consolidation and
             JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      trial settings

                                      Correspondences with team re: consolidation and
09/24/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      review motion prepare to do same

09/29/2021   JCS   Review             Receive and review Court Order on experts.              $375.00   0.1    $37.50
                                      Redline motion and suggestions in support of
10/11/2021   JCS   Revise documents   motion to consolidate; correspondences with team        $375.00   0.3   $112.50
                                      re: same

                                      Receive and review correspondence from Laurel
10/21/2021   JCS   Review             Stevenson re: her efforts to get answer from AGs        $375.00   0.1    $37.50
                                      office on issue of consolidation

                   Review             Receive and review defendant's opposition to                             $37.50
10/26/2021   JCS                                                                              $375.00   0.1
                                      consolidation

                   Confer with co-    Conference call regarding Motion to Consolidate,
10/27/2021   JCS                                                                              $375.00   0.1    $37.50
                   counsel            Defendant’s Response and need for reply
                                      Receive and review Orders from Judge Phillips re:
11/17/2021   JCS   Review             consolidating cases and deadlines moving forward,       $375.00   0.2    $75.00
                                      including trial date and all pre-trial deadline.
                   Confer with co-     Confer with team re: consolidation, deadlines, and
11/17/2021   JCS                                                                                 $375.00   0.2    $75.00
                   counsel             next steps.

                                       Attend Part I of mediation with all counsel and
11/22/2021   JCS   Correspondence                                                                $375.00   0.1    $37.50
                                       Laurel Stevenson

                                       Correspondences with co-counsel re: mediation in
11/22/2021   JCS   Correspondence                                                                $375.00   0.2    $75.00
                                       this matter.
                   Confer with co-     Confer with team re: mediation in consolidated
11/23/2021   JCS                                                                                 $375.00   0.2    $75.00
                   counsel             cases per Court Order.

                   Confer with co-     Confer with team re: plan for this week, specifically
11/29/2021   JCS                                                                                 $375.00   0.1    $37.50
                   counsel             mediation of consolidated cases Wednesday 12/1.
                   Confer with co-     Various correspondences with co-counsel
11/30/2021   JCS                                                                                 $375.00   0.2    $75.00
                   counsel             regarding consolidated cases and mediation
                                       Attend Mediation in Consolidated Cases (per Court
                                       Order); Correspondence with team before and after
12/01/2021   JCS   Attend Mediation                                                              $375.00   0.8   $300.00
                                       same; Receive summary correspondence from
                                       Laurel Stevenson re: same.

                   Confer with co-     Ongoing correspondences with team following
12/02/2021   JCS                                                                                 $375.00   0.1    $37.50
                   counsel             mediation and settlement numbers

                   Confer with co-     Correspondences with team regarding trial strategy
12/03/2021   JCS                                                                                 $375.00   0.3   $112.50
                   counsel             and schedule.
                                       Continue to prepare writ for T. Dean to appear at
12/08/2021   JCS   Draft Documents                                                               $375.00   0.2    $75.00
                                       trial

                                       Prepare writ for T. Dean to appeal at trial, file and
12/13/2021   JCS   Draft Documents                                                               $375.00   0.2    $75.00
                                       serve same
                   Confer with co-     Team meeting with co-counsel re: pre-trial to-do's
12/22/2021   JCS                                                                                 $375.00   0.6   $225.00
                   counsel             and trial strategy.
12/27/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                     $375.00   0.2    $75.00

12/28/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                     $375.00   0.2    $75.00
12/29/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                     $375.00   0.2    $75.00
01/03/2022   JCS   Draft Documents     Continue to prepare and finalize Motions in Limine.       $375.00   0.2    $75.00

                   Confer with co-     Confer with co-counsel regarding pre-trial team
01/04/2022   JCS   counsel                                                                       $375.00   0.2    $75.00
                                       meeting and pre-trail deadlines

             JCS                       Review request for writ filed by defendant; confer                  0.2
01/04/2022         Review                                                                        $375.00          $75.00
                                       with team re: same
01/04/2022   JCS   Review and revise   Review and continue to prepare stipulations               $375.00   0.2    $75.00

                   Confer with co-     Confer with co-counsel regarding trial strategy and
01/06/2022   JCS                                                                                 $375.00   0.4   $150.00
                   counsel             other pre-trial filings and to-do's
                   Prepare for court
01/06/2022   JCS                       Prepare trial binder                                      $375.00   0.4   $150.00
                   hearing
                                       Review Defendant's Motions in Limine; Begin to
                                       draft response to Defendant's Motions in Limine;
01/10/2022   JCS   Draft Documents                                                               $375.00   0.4   $150.00
                                       Correspondences with all counsel re: same;
                                       Continue to prepare witness list and trial brief.

                                       Continue to prepare exhibit list, Rule 415 Notice
01/11/2022   JCS   Draft Documents                                                               $375.00   0.4   $150.00
                                       and preliminary Voir Dire questions.
                   Confer with co-     Confer with co-counsel re: trial exhibits and trial to-
01/12/2022   JCS                                                                                 $375.00   0.3   $112.50
                   counsel             dos; Continue to prepare for trial.
                                       Confer with team; Continue to prepare witness list
01/13/2022   JCS   Draft Documents                                                               $375.00   0.3   $112.50
                                       for trial.

                                       Receive and review Defendant's witness list,
01/13/2022   JCS   Review                                                                        $375.00   0.2    $75.00
                                       exhibit list, and jury questions.
                   Confer with co-     Confer with team re: Defendant's witness list and
01/14/2022   JCS                                                                                $375.00   0.2     $75.00
                   counsel             our response to same.
                                       Continue to prepare Response to Defendant's
01/14/2022   JCS   Draft Documents                                                              $375.00   0.2     $75.00
                                       Motions in Limine

                                       Continue to prepare: Plaintiffs' Response to
                                       Defendant's Motions in Limines; Plaintiffs' Motion
01/17/2022   JCS   Draft Documents     to Strike Defendant's Experts and Exhibit List;          $375.00   0.5    $187.50
                                       Plaintiff's Jury Instructions; and Stipulations in
                                       preparation for consolidated trial.

                                       Research issues in Defendant's Motion in Limine to
01/17/2022   JCS   Research                                                                     $375.00   0.2     $75.00
                                       prepare response to same.

                                       Continue to prepare and finalize Plaintiffs'
01/18/2022   JCS   Draft Documents                                                              $375.00   0.2     $75.00
                                       Response to Defendant's Motions in Limine
                                       Finalize and file Plaintiffs’ Response to Defendant’s
01/18/2022   JC    File                                                                         $150.00   0.5     $75.00
                                       Motions in Limine.
                   Confer with co-
01/19/2022   JCS                       Meeting with co-counsel re: pretrial and trial.          $375.00   0.5    $187.50
                   counsel

                                       Begin to review cases cited throughout Motions in
01/19/2022   JCS   Review                                                                       $375.00   0.3    $112.50
                                       Limine to prepare for pretrial
                   Prepare for court   Prepare for pretrial, specifically arguments on
01/20/2022   JCS                                                                                $375.00   1.0    $375.00
                   hearing             Plaintiffs' and Defendant's Motions in Limine
                   Attend court
01/21/2022   JCS                       Attend pretrial in Kansas City; Travel to/from.          $375.00   4.0   $1,500.00
                   hearing

                                       Receive and review Court's docket entries and
01/21/2022   JCS   Review                                                                       $375.00   0.1     $37.50
                                       Orders following pretrial.
                                       Receive and review Court Order re: Plaintiffs’
01/24/2022   JCS   Review                                                                       $375.00   0.1     $37.50
                                       Motion to Exclude Testimony of Maya Gasa.

                                       Receive and review correspondence from Court re:
                                       trail being continued; initial correspondences with
01/24/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       the court, opposing counsel and team re: new trial
                                       setting

                                       Ongoing correspondences with court, opposing
01/26/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       counsel and team re: new trial setting
                                       Receive and review new consolidated trial setting;
01/27/2022   JCS   Review              notify clients, experts and current and prior team re:   $375.00   0.3    $112.50
                                       same.
                                       Correspondence with T. Dean re: pre-trial meeting,
03/21/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       plans for consolidated trial, etc.

                                       Correspondence with T. Dean re: pre-trial meeting,
03/21/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       plans for consolidated trial, etc.
                                       Correspondences with prison to set up pre-trial
03/24/2022   JCS   Correspondence                                                               $375.00   0.1     $37.50
                                       (consolidated cases) meeting w/ Dean
                                       Prepare letter to Ms. Wright requesting in-person
03/28/2022   JC    Draft/Revise        trial preparation meeting with J. Snow and Teri          $150.00   0.1     $15.00
                                       Dean.

                                       Begin preparation of Plaintiffs’ Request for Writ of
03/28/2022   JC    Draft filings       Habeas Corpus Ad Testificandum related to Teri           $150.00   0.1     $15.00
                                       Dean.
                                       Correspondence with prison to schedule pre-trial
03/28/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       meeting with T. Dean.
                                       Prepare and file writ for Dean; Correspondence
04/05/2022   JCS   Review and confer   with team re: outlines, topics, pre-trial meeting        $375.00   0.3    $112.50
                                       plans
                                      Attend pre-trial meeting with team; Confer with
                                      clerk and courtroom deputy to get details on voir
                                      dire seating chart, jury seating/rules, lunches, etc.;
04/06/2022   JCS   Conference                                                                  $375.00   1.0    $375.00
                                      Correspondences with defense counsel re: exhibits
                                      for trial and access to same and rulings on motions
                                      in limine.
                                      Review demonstrative chart circulated by J.
                                      Ammann and compare to Dean's housing
                                      assignments to illustrate when Bearden and Dean
04/08/2022   JCS   Review                                                                      $375.00   0.2     $75.00
                                      would have been in the same place at the same
                                      time; Correspondences with team re:
                                      demonstrative.
                                      Review exhibits/link from defense counsel; review
                                      defense counsel's notes on MILs; prepare voir dire
04/11/2022   JCS   Review             map; compile documents for voir dire; Ongoing            $375.00   0.4    $150.00
                                      correspondences with team re: pre-trial strategy,
                                      to-do's, etc.

                                      Continue preparation of Plaintiffs' Exhibits 1-7 to be
04/11/2022   JC    Draft filings                                                               $150.00   0.1     $15.00
                                      used at trial.
04/12/2022   JCS   Review             Review EOA filed by Abbie Rothermich                     $375.00   0.1     $37.50
                                      Continue preparation of Plaintiffs’ Exhibits 8-10 and
04/13/2022   JC    Draft filings                                                               $150.00   0.1     $15.00
                                      22-23 to be used at trial.

                                      Continue preparation of Plaintiffs’ Exhibits 24-33 to
04/14/2022   JC    Draft filings                                                               $150.00   0.1     $15.00
                                      be used at trial.
                                      Correspondence with T. Dean re: pre-trial meeting
                                      and trial appearance and what to expect; Continued
04/15/2022   JCS   Correspondence     correspondence with Vandalia re: April 22nd visit        $375.00   0.5    $187.50
                                      with T. Dean to adjust time for same;
                                      Correspondence with team re: trial strategy issues.
                                      Review defendants exhibits and discuss job charts
04/15/2022   JCS   Review                                                                      $375.00   0.3    $112.50
                                      with co-counsel J. Ammann.

                                      Correspondences with team re: ongoing trial prep
04/19/2022   JCS   Correspondence                                                              $375.00   0.2     $75.00
                                      and strategy.
                                      Research and review Defense witness, D. Clay, for
04/19/2022   JCS   Review                                                                      $375.00   1.0    $375.00
                                      purposes of preparing her cross-examination
                                      Prepare summary of Dean's case for use in
                                      opening; Begin to prepare direct examination of
04/20/2022   JCS   Draft Documents    Dean for use at trial; Correspondences with team         $375.00   1.5    $562.50
                                      re: same; Continue to prepare and discuss
                                      demonstratives

                                      Pre-trial team meeting to discuss trial and further
04/21/2022   JCS   Conference                                                                  $375.00   0.5    $187.50
                                      develop themes and strategy

                                      Travel to/from Vandalia to meet with T. Dean to
04/22/2022   JCS   Meet with Client                                                            $375.00   2.0    $750.00
                                      prep her for trial
04/23/2022   JCS   Transportation     Travel to Kansas City for trial.                         $375.00   1.0    $375.00
                                      Meet with client to prepare her for trial; Discussions
04/24/2022   JCS   Meet with Client                                                            $375.00   3.1   $1,162.50
                                      with co-counsel re: case strategy.

                   Attend court       Attend and partake in day one of trial, including voir
04/25/2022   JCS   hearing            dire, openings and start of plaintiffs' case in chief;   $375.00   3.4   $1,275.00
                                      Prepare for day two of trial.

                   Attend court       Attend and partake in day two of trial; Prepare
04/26/2022   JCS                                                                               $375.00   3.5   $1,312.50
                   hearing            expert for day three of trial.

04/27/2022         Attend court
             JCS                      Attend and partake in day three of trial.                $375.00   2.5    $937.50
                   hearing
                   Attend court
04/28/2022   JCS                      Attend and partake in day four of trial.                 $375.00   2.0    $750.00
                   hearing
                       Attend court
04/29/2022     JCS                       Return travel from trial back to St. Louis.              $375.00             1.0      $375.00
                       hearing

                                         Correspondences with my prior firm, Kamykowski
05/07/2022     JCS     Correspondence    Gavin and Smith, to obtain time and expense              $375.00             0.4      $150.00
                                         reports to include in Plaintiffs' Motion for Fees.
                                         Continue to prepare Plaintiffs' Motion for Attorney
05/08/2022     JCS     Draft Documents   Fees; Discuss declarations, other exhibits, etc., to     $375.00             0.3      $112.50
                                         attach to same.
                                         Continue to prepare Motion for Attorney Fees;
05/09/2022     JCS     Draft Documents                                                            $375.00             0.2       $75.00
                                         Correspondences with team re: same.
                                         Research reasonable attorney rates to apply to
                                         hours in order to continue to prepare Motion for
05/09/2022     JCS     Research                                                                   $375.00             0.3      $112.50
                                         Attorney Fees; Correspondences with team re:
                                         same.
                                         Continue to prepare declaration; Continue to
05/10/2022     JCS     Draft Documents                                                            $375.00             1.0      $375.00
                                         prepare Motion for Attorney's Fees.
                                         Prepare Declaration of Jenifer C. Snow to be filed
                                         with Plaintiffs’ Motion for Attorneys’ Fees; Continue
05/10/2022     JC      Draft filings                                                              $150.00             1.5      $225.00
                                         preparation of exhibits to be filed with Plaintiffs’
                                         Motion for Attorneys’ Fees.

Non-billable Time Entries:
03/16/2021     JCS     Deposition        Appear for and attend deposition of Vevia Sturm          $375.00             0.6      $225.00
04/07/2021     JCS     Correspondence    Attend Defendant Bearden's Deposition.                   $375.00             0.4      $150.00

                                                                                                   Totals:          57.8    $20,737.50
Expenses

Date           EE      Activity          Description                                                 Cost        Quantity    Line Total
                                         Travel to/from Vandalia, MO for trial preparation
04/22/2022     JC      Mileage                                                                     $27.70             1.0       $27.70
                                         with inmate Teri Dean.

                       Reimbursable      Jenifer hotel for trial 4.23.22 - 4.30.22 (split 4
05/04/2022     JC                                                                                 $305.64             1.0      $305.64
                       Expense           ways).
                       Reimbursable
05/04/2022     JC                        Trial Expenses – Travel for trial (split 4 ways).         $21.05             1.0       $21.05
                       Expense

                                                                                                         Expense Total:        $354.39


Notes:                                                                                           Time Entry Sub-Total:      $20,737.50

JC Total: 2.5 hours; $375.00                                                                       Expense Sub-Total:         $354.39
JCS Total: 55.3 hours; $20,362.50                                                                            Sub-Total:     $21,091.89


                                                                                                                 Total:     $21,091.89
                                                                                                       Amount Paid:              $0.00

                                                                                                        Balance Due:        $21,091.89
                                        Kamykowski & Taylor, P.C.
                                         222 S. Central Ave., Suite 1100
                                            Clayton, Missouri 63105
                                             Phone: 314.665.3280



        Zieser v. Bearden                                                Invoice Date:   May 10, 2022
        For Services rendered between
        November 7, 2018 – January 20, 2021

Item               Date          Description                               hrs.     Rate         Total    Billed
                                                                                                          By
Review/analyze     12/2/2019     Review Amended Scheduling Order.             0.1 $150.00        $15.00   ENR

TOTAL                                                                         0.1                $15.00   ENR

Communicate        1/20/2021     Correspondences with all counsel             0.2 $375.00        $75.00   JCS
(other outside                   regarding depositions of Leslie
counsel)                         Carsey, Aaron York and Carrie
                                 Pfeifer.
Review/analyze     1/5/2021      Receive and review Order                     0.1 $375.00        $37.50   JCS
                                 establishing new discovery and
                                 dispositive motion deadlines.
Communicate        12/31/2020    Correspondences with co-counsel              0.1 $375.00        $37.50   JCS
(other external)                 regarding Motion to Continue
                                 Scheduling Deadline.

Communicate        12/31/2020    Correspondences with all counsel             0.1 $375.00        $37.50   JCS
(other outside                   regarding discovery deadlines,
counsel)                         specifically depositions and
                                 whereabouts of same.

Communicate        12/29/2020    Correspondences with all counsel             0.1 $375.00        $37.50   JCS
(other outside                   regarding Court Order denying
counsel)                         continuance of deadlines, generally,
                                 and plan for discovery, specifically,
                                 depositions moving forward
                                 including taking them virtually and
                                 deadlines for same.
Communicate        12/29/2020    Correspondences with co-counsel              0.1 $375.00        $37.50   JCS
(other outside                   regarding plan for depositions, who
counsel)                         to produce, who to request, how to
                                 produce/take them (virtually v. in
                                 person) and timeframe of same.
Item               Date         Description                               hrs.   Rate      Total     Billed
                                                                                                     By
Draft/revise       12/21/2020   Continue to prepare Joint Motion to          0.2 $375.00   $75.00    JCS
                                Continue Generally the Discovery
                                Deadline, Dispositive Motion
                                Deadline, and Daubert Motion
                                Deadline
Communicate        9/9/2020     Continue to prepare email to                 0.1 $375.00   $37.50    JCS
(other external)                defense counsel regarding party and
                                fact witness depositions.
Communicate        9/4/2020     Telephone conference with all co-            0.2 $375.00   $75.00    JCS
(other external)                counsel regarding case status.

Communicate        9/2/2020     Correspondence with co-counsel to            0.1 $375.00   $37.50    JCS
(other external)                schedule conference call.

Communicate        8/26/2020    Correspondence with co-counsel               0.1 $375.00   $37.50    JCS
(other external)                regarding Plaintiff's initial discovery
                                to serve on Defendants.
Draft/revise       8/25/2020    Continue to prepare discovery                0.2 $375.00   $75.00    JCS
                                directed to Defendant Bearden.
Communicate        7/16/2020    Receive and review correspondence            0.1 $375.00   $37.50    JCS
(other external)                from M. Pennycuff regarding phone
                                records to be produced.
Review/analyze     6/19/2020    Receive and review docket entry              0.2 $375.00   $75.00    JCS
                                entering Amended Scheduling Order
                                and calendar dates as-needed.

Communicate        6/15/2020    Correspondence with Ms. McIlvaine,           0.1 $375.00   $37.50    JCS
(other external)                Judge Phillip’s deputy, to send her
                                copy of Second Amended
                                Scheduling Order for entry pursuant
                                to docket entry.

Draft/revise       6/11/2020    Prepare Motion for Entry of Joint            0.3 $375.00   $112.50   JCS
                                Second Amended Scheduling Order
                                in Consolidated Cases

Draft/revise       6/11/2020    Finalize Joint Second Amended                0.2 $375.00   $75.00    JCS
                                Scheduling Order in Consolidated
                                Cases
Draft/revise       6/1/2020     Continue to prepare second                   0.1 $375.00   $37.50    JCS
                                amended joint scheduling order.
Item               Date        Description                               hrs.   Rate      Total     Billed
                                                                                                    By
Communicate        6/1/2020    Continued correspondence with                0.1 $375.00   $37.50    JCS
(other outside                 Defense counsel regarding second
counsel)                       amended joint scheduling order.

Draft/revise       5/29/2020   Draft second amended scheduling              0.2 $375.00   $75.00    JCS
                               order given COVID limitations and
                               delays.
Communicate        5/26/2020   Correspondence to Defense Counsel            0.2 $375.00   $75.00    JCS
(other outside                 regarding status of case, need for
counsel)                       amended Scheduling Order, Expert
                               discovery and party discovery.

Review/analyze     5/19/2020   Review Interrogatories directed to           0.3 $375.00   $112.50   JCS
                               Defendant Bearden drafted by J.
                               Ammann; Evaluate how to serve in
                               all cases and suggest additional
                               discovery to serve; Correspondence
                               with co-counsel regarding same.

Communicate        5/15/2020   Correspondence with co-counsel               0.2 $375.00   $75.00    JCS
(other external)               regarding Scheduling Order and
                               need of new timeline of case.
Review/analyze     5/1/2020    Review, revise and continue to               0.3 $375.00   $112.50   JCS
                               update information regarding fact
                               witnesses and their whereabouts for
                               purposes of responding to N.
                               Taulbee's request for depositions of
                               same.

Review/analyze     5/1/2020    Continue to review files, specifically       0.4 $375.00   $150.00   JCS
                               pleadings, Rule 26 disclosures to
                               identify witnesses for all parties, and
                               documents produced by DOC to
                               continue to analyze same.

Communicate        4/27/2020   Correspondence with C. Atwell                0.1 $375.00   $37.50    JCS
(other external)               regarding mediation invoice
                               received to inquire about same as I
                               thought it had been paid by co-
                               counsel J. Ammann.

Communicate        4/27/2020   Correspondence with co-counsel               0.1 $375.00   $37.50    JCS
(other outside                 regarding fact witness discovery.
counsel)
Item               Date        Description                              hrs.   Rate      Total     Billed
                                                                                                   By
Communicate        4/22/2020   Correspondence with co-counsel, J.          0.1 $375.00   $37.50    JCS
(other outside                 Ammann regarding discovery to
counsel)                       serve on Defendant Bearden.

Communicate        4/7/2020    Correspondences with all counsel            0.2 $375.00   $75.00    JCS
(other outside                 regarding witness depositions.
counsel)
Communicate        3/2/2020    Correspondence with all counsel             0.1 $375.00   $37.50    JCS
(other outside                 regarding discovery, specifically
counsel)                       Plaintiff’s objections, answers and
                               responses and regarding requested
                               DOC depositions.

Research           2/17/2020   Research lay witness contact                0.1 $375.00   $37.50    JCS
                               information.
Communicate        2/12/2020   Conference call with S. McGraugh            0.2 $375.00   $75.00    JCS
(other external)               and her clinic students regarding
                               offender-witness project, specifically
                               regarding our needs of information,
                               i.e., if they are incarcerated or not
                               currently and what their contact
                               information is if they have been
                               released.
Appear             2/6/2020    Attend lunch meeting with co-               0.7 $375.00   $262.50   JCS
for/attend                     counsel and Dora Schriro.

Review/analyze     2/6/2020    Receive and process DOC document            0.2 $375.00   $75.00    JCS
                               production.
Draft/revise       2/5/2020    Prepare discovery scheduling order          0.1 $375.00   $37.50    JCS
                               and correspondences with co-
                               counsel regarding filing same.
Review/analyze     2/5/2020    Review file and notes to continue to        0.3 $375.00   $112.50   JCS
                               update and create deposition list
                               and send/receive correspondences
                               between/among co-counsel
                               regarding strategy for same.

Review/analyze     1/31/2020   Receive and review HIPAA release            0.1 $375.00   $37.50    JCS
                               from Defendant Bearden for
                               execution by Plaintiff.
Item               Date         Description                           hrs.   Rate      Total    Billed
                                                                                                By
Review/analyze     1/30/2020    Receive and review Defendant             0.2 $375.00   $75.00   JCS
                                Bearden’s First Interrogatories and
                                First Request for Production
                                directed to Plaintiff.
Communicate        1/27/2020    Exchange email correspondence            0.1 $375.00   $37.50   JCS
(other outside                  with all counsel regarding status
counsel)                        reports.

Review/analyze     1/24/2020    Receive and review Orders                0.1 $375.00   $37.50   JCS
                                consolidating cases and reassigning
                                case to Judge Phillips.

Communicate (in    1/20/2020    Correspondence with co-counsel           0.1 $375.00   $37.50   JCS
firm)                           regarding upcoming deadlines and
                                no ruling on pending motion to
                                consolidate.

Communicate        1/8/2020     Correspondence with all counsel          0.1 $375.00   $37.50   JCS
(other outside                  regarding consolidating case.
counsel)
Appear             1/7/2020     Attend meeting with all co-counsel       0.2 $375.00   $75.00   JCS
for/attend                      regarding case status and strategy.

Communicate        1/6/2020     Correspondences among Plaintiff’s        0.1 $375.00   $37.50   JCS
(other outside                  counsel regarding Motion to
counsel)                        Consolidate.
Communicate        1/6/2020     Correspondences among Plaintiff’s        0.1 $375.00   $37.50   JCS
(other outside                  counsel regarding fees and expenses
counsel)                        incurred to date and anticipated to
                                be incurred in the future and
                                procedure in place for same.

Document           12/13/2019   Receive, review and process to file      0.1 $375.00   $37.50   JCS
Production/                     final (produced) expert reports.
Creation/
Preparation
Communicate        12/12/2019   Receive and review Judge Atwell's        0.1 $375.00   $37.50   JCS
(other external)                post-mediation report sent to Jill
                                Morris.
Communicate        12/12/2019   Correspondence with all counsel          0.1 $375.00   $37.50   JCS
(other outside                  regarding consolidating pending
counsel)                        cases for purposes of discovery.
Item               Date         Description                           hrs.      Rate     Total       Billed
                                                                                                     By
Communicate        12/10/2019   Correspondence with all counsel          0.1 $375.00     $37.50      JCS
(other outside                  regarding consolidating pending
counsel)                        cases for discovery.

Communicate        12/9/2019    Correspondence with K. Batcheller,       0.2 $375.00     $75.00      JCS
(other external)                Judge Atwell's assistant, regarding
                                post-mediation status report;
                                Correspondence with all counsel
                                regarding same.

Review/analyze     12/6/2019    Review expert report from Dora.          0.2 $375.00     $75.00      JCS

Communicate        12/3/2019    Review materials and attend              0.4 $375.00     $150.00     JCS
(other outside                  conference call with all co-counsel
counsel)                        to discuss strategy and to-dos.

Appear             11/26/2019   Attend Mediation with Judge Atwell.          4 $375.00   $1,500.00   JCS
for/attend
Communicate        11/25/2019   Receive and review email                 0.1 $375.00     $37.50      JCS
(other outside                  correspondence from Mr. Taulbee
counsel)                        regarding protective order.

Review/analyze     11/25/2019   Receive and review Amended               0.1 $375.00     $37.50      JCS
                                Scheduling Order.
Communicate        11/22/2019   Correspondence with all counsel          0.2 $375.00     $75.00      JCS
(other outside                  regarding mediation specifics such
counsel)                        as attendees, position regarding
                                opening statements and request to
                                not have any interaction between
                                Plaintiff and Defendants.

Communicate        11/18/2019   Correspondence with team                 0.1 $375.00     $37.50      JCS
(other outside                  regarding mediation statement and
counsel)                        travel plans to attend November
                                26th mediation.

Communicate        11/12/2019   Various correspondences with team        0.2 $375.00     $75.00      JCS
(other outside                  regarding expert report due next
counsel)                        month.
Communicate        11/7/2019    Correspondence with J. Ammann to         0.1 $375.00     $37.50      JCS
(other outside                  prepare language for Subpoena on
counsel)                        Corizon.
Appear             11/4/2019    Attend Pre-Mediation Call with           0.3 $375.00     $112.50     JCS
for/attend                      Judge Atwell.
Item   Date        Description                             hrs.   Rate      Total     Billed
                                                                                      By
Time   10/8/2019   Receive and review correspondence          0.2 $375.00   $75.00    JCS
                   from mediator regarding mediation
                   to-dos.
Time   9/30/2019   Evaluate need to amend pleadings           0.2 $375.00   $75.00    JCS
                   and/or add additional parties.

Time   9/18/2019   Receive and review Mediation and           0.1 $375.00   $37.50    JCS
                   Assessment Program Reminder that
                   the post-mediation status report is
                   due within 10 calendar days after
                   the mediation.
Time   9/17/2019   Finalize and file updated designation      0.1 $375.00   $37.50    JCS
                   of mediator form.
Time   9/12/2019   Prepare Joint Designation of               0.3 $375.00   $112.50   JCS
                   Mediator forms and circulate to N.
                   Taulbee, counsel for E. Bearden, to
                   get his approval before filing by
                   September 13, 2019 deadline.
Time   9/5/2019    Correspondences with all counsel to        0.2 $375.00   $75.00    JCS
                   schedule mediation.

Time   9/3/2019    Review subpoena for DOC and send           0.2 $375.00   $75.00    JCS
                   correspondence to team regarding
                   same and to discuss mediation and
                   consolidating discovery.

Time   8/28/2019   Meet with team to discuss case to-         0.3 $375.00   $112.50   JCS
                   dos.
Time   8/23/2019   Correspondence with all attorneys          0.1 $375.00   $37.50    JCS
                   regarding mediation and mediator;
                   Correspondence with Plaintiff’s
                   attorneys regarding mediation
                   coverage.
Time   8/16/2019   Receive and review correspondence          0.2 $375.00   $75.00    JCS
                   from Jill Morris, MAP direction,
                   regarding mediator designation and
                   mediation deadline and calendar
                   same.

Time   7/29/2019   Continue to prepare scheduling             0.3 $375.00   $112.50   JCS
                   order and send/receive several
                   correspondences among counsel of
                   record regarding same.
Item   Date        Description                             hrs.   Rate      Total     Billed
                                                                                      By
Time   6/26/2019   Continued correspondences with             0.1 $375.00   $37.50    JCS
                   counsel of record regarding lifting
                   the stay.
Time   6/24/2019   Review Proposed Motion to Lift             0.1 $375.00   $37.50    JCS
                   Stay; Correspondence with Plaintiff's
                   team regarding same.
Time   4/29/2019   Receive and Review Order Granting          0.1 $375.00   $37.50    JCS
                   Joint Motion to Extend Stay until
                   July 1, 2019.
Time   4/26/2019   Receive and review filed Joint             0.1 $375.00   $37.50    JCS
                   Motion to Extend Stay.
Time   4/25/2019   Correspondences with all counsel of        0.2 $375.00   $75.00    JCS
                   record regarding extension of stay
                   of proceedings.
Time   4/24/2019   Correspondence with Plaintiffs’            0.1 $375.00   $37.50    JCS
                   counsel regarding continued stay;
                   Review and review Joint Motion for
                   Continued Stay.
Time   2/27/2019   Telephone conference with J.               0.2 $375.00   $75.00    JCS
                   Ammann regarding Zeiser’s DOJ
                   interview.
Time   2/14/2019   Receive and review Rule 16 Order           0.6 $375.00   $225.00   JCS
                   from Court; Correspondence with
                   team regarding typos therein;
                   Receive and review Order from
                   Court granting Stay until May 1,
                   2019.
Time   2/13/2019   Continued correspondence with J.           0.2 $375.00   $75.00    JCS
                   Ammann regarding stay and
                   mediation pending Court's
                   anticipated Order following Parties'
                   Joint Motion for Stay.

Time   2/12/2019   Receive and review various                 0.3 $375.00   $112.50   JCS
                   correspondences between counsel
                   of record regarding Joint Motion for
                   Stay.
Time   2/8/2019    Prepare Joint Motion for Stay.             0.3 $375.00   $112.50   JCS
Item   Date         Description                             hrs.   Rate      Total     Billed
                                                                                       By
Time   1/17/2019    Correspondence with counsel of             0.3 $375.00   $112.50   JCS
                    record and K. Batcheller, Judge
                    Atwell's legal assistant, regarding
                    moving mediation from March 5th
                    or March 7th.
Time   1/10/2019    Receive and review correspondence          0.5 $375.00   $187.50   JCS
                    from Judge Atwell's assistant
                    enclosing mediation details and
                    specifics; Calendar came;
                    Correspondence with co-counsel
                    regarding same.
Time   1/4/2019     Correspondence with counsel of             0.5 $375.00   $187.50   JCS
                    record regarding Designation of
                    Mediatory; Prepare and circulate
                    drafted designation.
Time   12/27/2018   Correspondence with AG's office            0.2 $375.00   $75.00    JCS
                    regarding meditation time and
                    location and scheduling order.

Time   12/21/2018   Continued correspondence                   0.4 $375.00   $150.00   JCS
                    regarding mediation and amending
                    scheduling order.
Time   12/20/2018   Correspondence with N. Taulbee             0.5 $375.00   $187.50   JCS
                    regarding mediator, mediation
                    dates, and amended the scheduling
                    order.
Time   12/18/2018   Correspondences with Nicolas               0.5 $375.00   $187.50   JCS
                    Taulbee, attorney general, regarding
                    mediation deadline extension and
                    mediators; Receive and review
                    correspondences between J.
                    Ammann and Jill Morris, mediation
                    program manager, regarding same;
                    Calendar new deadlines.

Time   12/17/2018   Correspondence with attorney               0.4 $375.00   $150.00   JCS
                    general's office regarding mediators,
                    mediation deadline and consent to
                    extending same.

Time   12/10/2018   Telephone conference call with J.          0.5 $375.00   $187.50   JCS
                    Ammann, B. Rodieger, and S.
                    McGraugh regarding cases, including
                    to-dos and fees.
Item               Date         Description                              hrs.       Rate    Total       Billed
                                                                                                        By
Time               12/2/2018    Correspondence with counsel of                0.2 $375.00   $75.00      JCS
                                record to select new mediator to
                                mediate case before January 7,
                                2019.
Time               11/14/2018   Review Rule 26 Initial Disclosures.           0.2 $375.00   $75.00      JCS

Time               11/7/2018    Telephone conference with SLU                 0.4 $375.00   $150.00     JCS
                                clinic regarding mediator
                                disclosures; Receive and review
                                scheduling order.
TOTAL                                                                    23                 $8,625.00   JCS

Time               7/31/2019    Review Scheduling Order.                      0.1 $150.00   $15.00      KAR
Time               11/8/2018    Review joint proposed scheduling              0.3 $150.00   $45.00      KAR
                                order and calendar deadlines
                                containing within the same.
TOTAL                                                                         0.4           $60.00      KAR

Draft/revise       12/30/2020   Continue preparation of Motion to             0.3 $425.00   $127.50     RJG
                                Continue Scheduling Deadlines and
                                exchange correspondence with co-
                                counsel regarding same.
Appear             2/6/2020     Attend lunch meeting with co-                 0.7 $425.00   $297.50     RJG
for/attend                      counsel and Dora Schriro.
Review/analyze     1/24/2020    Receive and review order granting             0.1 $425.00   $42.50      RJG
                                Motion to Consolidate.

Plan and prepare   1/7/2020     Review file in preparation for                0.2 $425.00   $85.00      RJG
for                             conference call with all counsel.

Appear             1/7/2020     Attend meeting with all co-counsel            0.2 $425.00   $85.00      RJG
for/attend                      regarding case status and strategy.

Review/analyze     12/12/2019   Review final drafts of expert reports.        0.4 $425.00   $170.00     RJG

Review/analyze     12/4/2019    Review and analyze draft report of            0.2 $425.00   $85.00      RJG
                                Dora Schriro.
Review/analyze     11/27/2019   Review and analyze draft expert               0.2 $425.00   $85.00      RJG
                                report.
Review/analyze     11/25/2019   Receive and review amended                    0.1 $425.00   $42.50      RJG
                                scheduling order.
Item               Date         Description                          hrs.   Rate      Total     Billed
                                                                                                By
Communicate        11/11/2019   Receive and review email                0.2 $425.00   $85.00    RJG
(other external)                correspondence from Ms. Choate
                                regarding expert reports.
Time               7/29/2019    Exchange email correspondence           0.2 $425.00   $85.00    RJG
                                with all counsel regarding
                                scheduling order.

Time               2/14/2019    Receive and review order granting       0.1 $425.00   $42.50    RJG
                                Motion to Stay.
Time               2/13/2019    Receive and review Joint Motion to      0.1 $425.00   $42.50    RJG
                                Stay All Proceedings.
Time               1/4/2019     Receive and review email                0.1 $425.00   $42.50    RJG
                                correspondence from Mr. Taulbee
                                regarding mediation.
Time               1/2/2019     Receive and review email                0.1 $425.00   $42.50    RJG
                                correspondence from Mr. Taulbee
                                regarding mediation.
Time               12/26/2018   Receive and review email                0.1 $425.00   $42.50    RJG
                                correspondence from Mr. Ammann
                                regarding mediator designation.

Time               12/21/2018   Receive and review email                0.3 $425.00   $127.50   RJG
                                correspondence from counsel
                                regarding mediation.
Time               12/19/2018   Telephone conference with Jose          0.3 $425.00   $127.50   RJG
                                Bautista regarding mediators;
                                Exchange email correspondence
                                with team regarding mediators.

Time               12/18/2018   Receive and review correspondence       0.2 $425.00   $85.00    RJG
                                between Ms. Morris and Mr.
                                Ammann regarding mediation
                                referral.
Time               12/12/2018   Receive and review email                0.1 $425.00   $42.50    RJG
                                correspondence from Mr. Taulbee
                                regarding mediation.
Time               12/2/2018    Receive and review email                0.2 $425.00   $85.00    RJG
                                correspondence from all counsel
                                regarding mediation.
Time               11/19/2018   Receive and review email                0.2 $425.00   $85.00    RJG
                                correspondence from Mr. Shurin
                                regarding mediation.
Item          Date         Description                          hrs.     Rate    Total        Billed
                                                                                              By
Time          11/14/2018   Receive and review proposed Rule        0.2 $425.00   $85.00       RJG
                           26 Initial Disclosures.
Time          11/9/2018    Review and analyze Joint Proposed       0.2 $425.00   $85.00       RJG
                           Scheduling Plan.
Time          10/11/2018   Receive and review email                0.2 $425.00   $85.00       RJG
                           correspondence from Mr. Taulbee
                           and Mr. Ammann regarding Rule 16
                           Conference.
Time          9/10/2018    Receive and review answer on            0.1 $425.00   $42.50       RJG
                           behalf of Edward Bearden.
Time          9/10/2018    Receive and review Rule 16 notice.      0.1 $425.00   $42.50       RJG

TOTAL                                                              5.4           $2,295.00    RJG

GRAND TOTAL                                                      28.90           $13,365.00
Law Office of Joan M. Swartz                                                     Law Office of Joan M. Swartz
3348 Greenwood Blvd.
St. Louis, MO 63143
United States
(314) 471-2032




SLU Law Clinic Cases                                                                       Balance       $19,179.39
                                                                                           Invoice #     00698
                                                                                           Invoice Date  May 10, 2022
                                                                                           Payment Terms
                                                                                           Due Date




Zieser v. Bearden

Time Entries

Date         EE    Activity           Description                                                Rate   Hours   Line Total
02/03/2021   JCS   Draft Documents    Prepare Notice of Change of Address                     $375.00     0.2     $75.00
                                      Various correspondences with all counsel
02/03/2021   JCS   Correspondence                                                             $375.00     0.2     $75.00
                                      regarding upcoming party and witness depositions.
                                      Telephone correspondence with co-counsel to
02/08/2021   JCS   Correspondence     discuss deposition testimony, upcoming                  $375.00     0.2     $75.00
                                      depositions and case theories moving forward.
                   Confer with co-    Correspondences with co-counsel regarding
02/18/2021   JCS   counsel                                                                    $375.00     0.1     $37.50
                                      upcoming depositions.

                   Confer with co-    Telephone conference call with J. Ammann to
02/25/2021   JCS                                                                              $375.00     0.1     $37.50
                   counsel            catch up on depositions in all cases.
                   Confer with        Continued correspondences with all counsel
03/05/2021   JCS                                                                              $375.00     0.1     $37.50
                   opposing counsel   regarding depositions.

                                      Continued correspondences with all counsel
03/12/2021   JCS   Correspondence                                                             $375.00     0.1     $37.50
                                      regarding party depositions.
                                      Correspondences with team and with defense
                                      counsel regarding reopening settlement
                                      negotiations before 20+ more depositions and trial
03/15/2021   JCS   Correspondence                                                             $375.00     0.5    $187.50
                                      prep occurs; Correspondences with co-counsel
                                      regarding upcoming depositions and strategy for
                                      same.

                   Draft
03/15/2021   JCS                      Continue to prepare supplemental disclosures.           $375.00     0.1     $37.50
                   Correspondence
                                      Phone conference with J. Ammann and B.
                   Confer with co-
03/24/2021   JCS                      Roediger to discuss settlement, specifically            $375.00     0.2     $75.00
                   counsel
                                      demand amounts and strategy for making same.

03/28/2021   JCS   Correspondence     Make demand via email to defense counsel.               $375.00     0.2     $75.00
                   Confer with co-    Correspondence with co-counsel re: discussions
03/31/2021   JCS                                                                              $375.00     0.1     $37.50
                   counsel            with Defense Counsel relating to settlement.
                                      Continued correspondences with co-counsel
                   Confer with co-
04/01/2021   JCS                      regarding settlement negotiations and                 $375.00   0.1    $37.50
                   counsel
                                      supplemental disclosures.
                   Confer with        Correspondence with P. Brown and N. Taublee to
04/02/2021   JCS                                                                            $375.00   0.1    $37.50
                   opposing counsel   schedule April 6th mediation.

                                      Correspondences with co-counsel regarding
                                      mediation, specifically our position re: mediator,
                   Confer with co-
04/02/2021   JCS                      value of each case, and to-do's between now and       $375.00   0.3   $112.50
                   counsel
                                      mediation including mediation statement to prepare
                                      and calls to clients to make.

                                      Continue to prepare Plaintiffs' Joint Mediation
04/04/2021   JCS   Draft Documents    Statement; Correspondences with co-counsel            $375.00   0.2    $75.00
                                      regarding same.

                   Confer with        Correspondences with opposing counsel regarding
04/05/2021   JCS                                                                            $375.00   0.1    $37.50
                   opposing counsel   cancellation of mediation.
                                      Correspondences with co-counsel regarding
                   Confer with co-    mediation statement and then cancellation of
04/05/2021   JCS                                                                            $375.00   0.1    $37.50
                   counsel            mediation.

04/05/2021   JCS   Draft Documents    Finalize and submit mediation statement.              $375.00   0.1    $37.50

                                      Correspondence with J. Ammann and B. Rodieger
                   Confer with co-
04/06/2021   JCS                      regarding to-do's following defense counsel's         $375.00   0.1    $37.50
                   counsel
                                      abrupt cancellation of mediation.

                                      Correspondences with defense counsel regarding
                   Confer with
04/07/2021   JCS                      discovery, deposition scheduling, kicking trial       $375.00   0.2    $75.00
                   opposing counsel
                                      settings and discovery cut-off dates

                                      Correspondences with co-counsel regarding
                   Confer with co-    discovery, deposition scheduling, kicking trial
04/07/2021   JCS                                                                            $375.00   0.2    $75.00
                   counsel            settings and discovery cut-off dates, and testimony
                                      elicited and to be elicited.

                                      Receive and review Court order extending
04/13/2021   JCS   Review             discovery deadlines and revising scheduling orders    $375.00   0.1    $37.50
                                      in consolidated cases.

                                      Various correspondences with team re: party
04/15/2021   JCS   Correspondence                                                           $375.00   0.1    $37.50
                                      depositions.

                                      Correspondences with all counsel re: party
04/16/2021   JCS   Correspondence                                                           $375.00   0.2    $75.00
                                      depositions.

                   Confer with co-    Conference call with co-counsel to discuss defense
05/14/2021   JCS                                                                            $375.00   0.1    $37.50
                   counsel            strategy and to-do's.

06/11/2021                            Correspondences with co-counsel to set up
             JCS   Correspondence                                                           $375.00   0.1    $37.50
                                      meeting to discuss cases.

                                      Meet with co-counsel and team to go over all
06/15/2021   JCS   Conference                                                               $375.00   0.4   $150.00
                                      cases, prepare to-dos and discuss strategy.

                                      Correspondence to all counsel of record canceling
06/16/2021   JCS   Correspondence                                                           $375.00   0.1    $37.50
                                      Briesacher's deposition.

                                      Correspondences with all counsel regarding call
07/08/2021   JCS   Correspondence     from Katie Moore from Kansas City Star and plan       $375.00   0.1    $37.50
                                      for media involvement moving forward.

                                      Correspondences with all counsel regarding
07/13/2021   JCS   Correspondence                                                           $375.00   0.1    $37.50
                                      upcoming depositions in consolidated cases.

                                      Telephone conference with team re: strategy of
07/14/2021   JCS   Correspondence                                                           $375.00   0.2    $75.00
                                      cases moving forward.

07/27/2021   JCS   Correspondence     Correspondences regarding depositions.                $375.00   0.2    $75.00
                   Confer with co-    Call w/ John Ammann re: strategy and to-dos with
07/29/2021   JCS                                                                            $375.00   0.2    $75.00
                   counsel            discovery deadline being tomorrow, July 30, 2021.
                                      Correspondence with co-counsel regarding
08/01/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      Defendant Bearden’s shifts and hours worked

                                      Receive and initial review Defendants' Daubert
08/13/2021   JCS   Review                                                                     $375.00   0.2    $75.00
                                      Motions

                                      Telephone correspondence with Laurel Stevenson
08/20/2021   JCS   Correspondence     re: cases and MAP program and mediation v.              $375.00   0.2    $75.00
                                      informal resolution of each.
                                      Prepare settlement correspondence to L.
08/20/2021   JCS   Draft Documents    Stevenson and send her same, along with May             $375.00   0.3   $112.50
                                      2021 settlement statement.

                                      Review Defendants' Motions to Exclude Expert
08/22/2021   JCS   Review                                                                     $375.00   0.2    $75.00
                                      Opinions.

                                      Begin to prepare Plaintiffs' Responses to
08/22/2021   JCS   Draft Documents                                                            $375.00   0.4   $150.00
                                      Defendants' Motions to Exclude Expert Opinions.
                                      Telephone conference call with MAP Coordinator
08/26/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      to discuss and schedule mediatio

                   Confer with co-    Correspondence with co-counsel re; upcoming
08/29/2021   JCS                                                                              $375.00   0.1    $37.50
                   counsel            mediations and strategy for same.

                                      Continue to prepare Responses in Opposition to
08/30/2021   JCS   Draft Documents                                                            $375.00   0.4   $150.00
                                      Defendant(s)' Motion to Exclude Expert Opinions

                                      Finalize and file Plaintiff's Responses in Opposition
08/30/2021   JCS   File                                                                       $375.00   0.2    $75.00
                                      to Defendant(s)' Motion to Exclude Expert Opinions

                                      Ongoing correspondences with co-counsel
08/30/2021   JCS   Correspondence     regarding responses to dispositive and daubert          $375.00   0.2    $75.00
                                      motoins

                                      Correspondence with team re: upcoming deadlines
09/03/2021   JCS   Correspondence                                                             $375.00   0.2    $75.00
                                      and mediation.

                                      Attend Part I of mediation with all counsel and
09/07/2021   JCS   Attend Mediation                                                           $375.00   0.5   $187.50
                                      Laurel Stevenson

                                      Review file and settlements and verdicts found to
09/07/2021   JCS   Review             prepare for mediation with all counsel and Laurel       $375.00   0.2    $75.00
                                      Stevenson

                                      Correspondence with various attorneys re:
09/09/2021   JCS   Correspondence                                                             $375.00   0.6   $225.00
                                      "summary jury trial" to evaluate same

                                      Correspondences with team re: consolidation and
09/21/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      trial settings

                                      Correspondences with team re: consolidation and
09/24/2021   JCS   Correspondence                                                             $375.00   0.1    $37.50
                                      review motion prepare to do same

09/29/2021   JCS   Review             Receive and review Court Order on experts.              $375.00   0.1    $37.50

                                      Redline motion and suggestions in support of
10/11/2021   JCS   Revise documents   motion to consolidate; correspondences with team        $375.00   0.3   $112.50
                                      re: same
                                      Receive and review correspondence from Laurel
10/21/2021   JCS   Review             Stevenson re: her efforts to get answer from AGs        $375.00   0.1    $37.50
                                      office on issue of consolidation

                                      Receive and review defendant's opposition to
10/26/2021   JCS   Review                                                                     $375.00   0.1    $37.50
                                      consolidation
                   Confer with co-    Conference call regarding Motion to Consolidate,
10/27/2021   JCS                                                                              $375.00   0.1    $37.50
                   counsel            Defendant’s Response and need for reply

                                      Receive and review Orders from Judge Phillips re:
11/17/2021   JCS   Review             consolidating cases and deadlines moving forward,       $375.00   0.2    $75.00
                                      including trial date and all pre-trial deadline.

                   Confer with co-    Confer with team re: consolidation, deadlines, and
11/17/2021   JCS                                                                              $375.00   0.2    $75.00
                   counsel            next steps.
                                       Attend Part I of mediation with all counsel and
11/22/2021   JCS   Correspondence                                                                $375.00   0.1    $37.50
                                       Laurel Stevenson

                                       Correspondences with co-counsel re: mediation in
11/22/2021   JCS   Correspondence                                                                $375.00   0.2    $75.00
                                       this matter.

                   Confer with co-     Confer with team re: mediation in consolidated
11/23/2021   JCS                                                                                 $375.00   0.2    $75.00
                   counsel             cases per Court Order.
                   Confer with co-     Confer with team re: plan for this week, specifically
11/29/2021   JCS                                                                                 $375.00   0.1    $37.50
                   counsel             mediation of consolidated cases Wednesday 12/1.

                   Confer with co-     Various correspondences with co-counsel
11/30/2021   JCS                                                                                 $375.00   0.2    $75.00
                   counsel             regarding consolidated cases and mediation
                                       Attend Mediation in Consolidated Cases (per Court
                                       Order); Correspondence with team before and after
12/01/2021   JCS   Attend Mediation                                                              $375.00   0.8   $300.00
                                       same; Receive summary correspondence from
                                       Laurel Stevenson re: same.
                   Confer with co-     Ongoing correspondences with team following
12/02/2021   JCS                                                                                 $375.00   0.1    $37.50
                   counsel             mediation and settlement numbers

                   Confer with co-     Correspondences with team regarding trial strategy
12/03/2021   JCS                                                                                 $375.00   0.3   $112.50
                   counsel             and schedule.

                                       Continue to prepare writ for T. Dean to appear at
12/08/2021   JCS   Draft Documents                                                               $375.00   0.2    $75.00
                                       trial
                                       Prepare writ for T. Dean to appeal at trial, file and
12/13/2021   JCS   Draft Documents                                                               $375.00   0.2    $75.00
                                       serve same

                   Confer with co-     Team meeting with co-counsel re: pre-trial to-do's
12/22/2021   JCS                                                                                 $375.00   0.6   $225.00
                   counsel             and trial strategy.
12/27/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                     $375.00   0.2    $75.00
12/28/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                     $375.00   0.2    $75.00

12/29/2021   JCS   Draft Documents     Continue to prepare Motions in Limine                     $375.00   0.2    $75.00
01/03/2022   JCS   Draft Documents     Continue to prepare and finalize Motions in Limine.       $375.00   0.2    $75.00
                   Confer with co-     Confer with co-counsel regarding pre-trial team
01/04/2022   JCS                                                                                 $375.00   0.2    $75.00
                   counsel             meeting and pre-trail deadlines

                                       Review request for writ filed by defendant; confer
01/04/2022   JCS   Review                                                                        $375.00   0.2    $75.00
                                       with team re: same
01/04/2022   JCS   Review and revise   Review and continue to prepare stipulations               $375.00   0.2    $75.00

                   Confer with co-     Confer with co-counsel regarding trial strategy and
01/06/2022   JCS                                                                                 $375.00   0.4   $150.00
                   counsel             other pre-trial filings and to-do's

                   Prepare for court
01/06/2022   JCS                       Prepare trial binder                                      $375.00   0.4   $150.00
                   hearing
                   Confer with co-     Correspondences with co-counsel re: records in
01/06/2022   JCS                                                                                 $375.00   0.3   $112.50
                   counsel             case that just came to light.

                                       Review Defendant's Motions in Limine; Begin to
                                       draft response to Defendant's Motions in Limine;
01/10/2022   JCS   Draft Documents                                                               $375.00   0.4   $150.00
                                       Correspondences with all counsel re: same;
                                       Continue to prepare witness list and trial brief.

                                       Continue to prepare exhibit list, Rule 415 Notice
01/11/2022   JCS   Draft Documents                                                               $375.00   0.4   $150.00
                                       and preliminary Voir Dire questions.
                   Confer with co-     Confer with co-counsel re: trial exhibits and trial to-
01/12/2022   JCS                                                                                 $375.00   0.3   $112.50
                   counsel             dos; Continue to prepare for trial.

                                       Confer with team; Continue to prepare witness list
01/13/2022   JCS   Draft Documents                                                               $375.00   0.3   $112.50
                                       for trial.

                                       Receive and review Defendant's witness list,
01/13/2022   JCS   Review                                                                        $375.00   0.2    $75.00
                                       exhibit list, and jury questions.
                   Confer with co-     Confer with team re: Defendant's witness list and
01/14/2022   JCS                                                                                 $375.00   0.2    $75.00
                   counsel             our response to same.
                                       Continue to prepare Response to Defendant's
01/14/2022   JCS   Draft Documents                                                              $375.00   0.2     $75.00
                                       Motions in Limine
                                       Continue to prepare: Plaintiffs' Response to
                                       Defendant's Motions in Limines; Plaintiffs' Motion
01/17/2022   JCS   Draft Documents     to Strike Defendant's Experts and Exhibit List;          $375.00   0.5    $187.50
                                       Plaintiff's Jury Instructions; and Stipulations in
                                       preparation for consolidated trial.

                                       Research issues in Defendant's Motion in Limine to
01/17/2022   JCS   Research                                                                     $375.00   0.2     $75.00
                                       prepare response to same.
                                       Continue to prepare and finalize Plaintiffs'
01/18/2022   JCS   Draft Documents                                                              $375.00   0.2     $75.00
                                       Response to Defendant's Motions in Limine
                   Confer with co-
01/19/2022   JCS                       Meeting with co-counsel re: pretrial and trial           $375.00   0.5    $187.50
                   counsel

                                       Begin to review cases cited throughout Motions in
01/19/2022   JCS   Review                                                                       $375.00   0.3    $112.50
                                       Limine to prepare for pretrial
                   Prepare for court   Prepare for pretrial, specifically arguments on
01/20/2022   JCS                                                                                $375.00   1.0    $375.00
                   hearing             Plaintiffs' and Defendant's Motions in Limine
                   Attend court
01/21/2022   JCS                       Attend pretrial in Kansas City; Travel to/from.          $375.00   4.0   $1,500.00
                   hearing

                                       Receive and review Court's docket entries and
01/21/2022   JCS   Review                                                                       $375.00   0.1     $37.50
                                       Orders following pretrial.
                                       Receive and review Court Order re: Plaintiffs’
01/24/2022   JCS   Review                                                                       $375.00   0.1     $37.50
                                       Motion to Exclude Testimony of Maya Gasa.
                                       Receive and review correspondence from Court re:
                                       trail being continued; initial correspondences with
01/24/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       the court, opposing counsel and team re: new trial
                                       setting

                                       Ongoing correspondences with court, opposing
01/26/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       counsel and team re: new trial setting
                                       Receive and review new consolidated trial setting;
01/27/2022   JCS   Review              notify clients, experts and current and prior team re:   $375.00   0.3    $112.50
                                       same.
                                       Correspondence with T. Dean re: pre-trial meeting,
03/21/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       plans for consolidated trial, etc.

                                       Correspondences with prison to set up pre-trial
03/24/2022   JCS   Correspondence                                                               $375.00   0.1     $37.50
                                       (consolidated cases) meeting w/ Dean
                                       Prepare letter to Ms. Wright requesting in-person
03/28/2022   JC    Draft/Revise        trial preparation meeting with J. Snow and Teri          $150.00   0.1     $15.00
                                       Dean.
                                       Begin preparation of Plaintiffs’ Request for Writ of
03/28/2022   JC    Draft filings       Habeas Corpus Ad Testificandum related to Teri           $150.00   0.1     $15.00
                                       Dean.

                                       Correspondence with prison to schedule pre-trial
03/28/2022   JCS   Correspondence                                                               $375.00   0.2     $75.00
                                       meeting with T. Dean.
                                       Prepare and file writ for Dean; Correspondence
04/05/2022   JCS   Review and confer   with team re: outlines, topics, pre-trial meeting        $375.00   0.3    $112.50
                                       plans
                                       Attend pre-trial meeting with team; Confer with
                                       clerk and courtroom deputy to get details on voir
                                       dire seating chart, jury seating/rules, lunches, etc.;
04/06/2022   JCS   Conference                                                                   $375.00   1.0    $375.00
                                       Correspondences with defense counsel re: exhibits
                                       for trial and access to same and rulings on motions
                                       in limine.
                                      Review demonstrative chart circulated by J.
                                      Ammann and compare to Dean's housing
                                      assignments to illustrate when Bearden and Dean
04/08/2022   JCS   Review                                                                      $375.00   0.2     $75.00
                                      would have been in the same place at the same
                                      time; Correspondences with team re:
                                      demonstrative.
                                      Review exhibits/link from defense counsel; review
                                      defense counsel's notes on MILs; prepare voir dire
04/11/2022   JCS   Review             map; compile documents for voir dire; Ongoing            $375.00   0.4    $150.00
                                      correspondences with team re: pre-trial strategy,
                                      to-do's, etc.

             JC                       Continue preparation of Plaintiffs' Exhibits 1-7 to be
04/11/2022         Draft filings                                                               $150.00   0.1     $15.00
                                      used at trial.

04/12/2022   JCS   Review             Review EOA filed by Abbie Rothermich                     $375.00   0.1     $37.50
                                      Continue preparation of Plaintiffs’ Exhibits 8-10 and
04/13/2022   JC    Draft filings                                                               $150.00   0.1     $15.00
                                      22-23 to be used at trial.

                                      Continue preparation of Plaintiffs’ Exhibits 24-33 to
04/14/2022   JC    Draft filings                                                               $150.00   0.1     $15.00
                                      be used at trial.

                                      Correspondence with T. Dean re: pre-trial meeting
                                      and trial appearance and what to expect; Continued
04/15/2022   JCS   Correspondence     correspondence with Vandalia re: April 22nd visit        $375.00   0.5    $187.50
                                      with T. Dean to adjust time for same;
                                      Correspondence with team re: trial strategy issues.
                                      Review defendants exhibits and discuss job charts
04/15/2022   JCS   Review                                                                      $375.00   0.3    $112.50
                                      with co-counsel J. Ammann.
                                      Correspondences with team re: ongoing trial prep
04/19/2022   JCS   Correspondence                                                              $375.00   0.2     $75.00
                                      and strategy.

                                      Research and review Defense witness, D. Clay, for
04/19/2022   JCS   Review                                                                      $375.00   0.1     $37.50
                                      purposes of preparing her cross-examination
                                      Prepare summary of Dean's case for use in
                                      opening; Begin to prepare direct examination of
04/20/2022   JCS   Draft Documents    Dean for use at trial; Correspondences with team         $375.00   1.5    $562.50
                                      re: same; Continue to prepare and discuss
                                      demonstratives
                                      Pre-trial team meeting to discuss trial and further
04/21/2022   JCS   Conference                                                                  $375.00   0.5    $187.50
                                      develop themes and strategy

                                      Travel to/from Vandalia to meet with T. Dean to
04/22/2022   JCS   Meet with Client                                                            $375.00   2.0    $750.00
                                      prep her for trial
04/23/2022   JCS   Transportation     Travel to Kansas City for trial.                         $375.00   1.0    $375.00
                   Confer with co-    Ongoing discussions with co-counsel re: case
04/24/2022   JCS                                                                               $375.00   0.3    $112.50
                   counsel            strategy.
                                      Attend and partake in day one of trial, including voir
                   Attend court
04/25/2022   JCS                      dire, openings and start of plaintiffs' case in chief;   $375.00   3.4   $1,275.00
                   hearing
                                      Prepare for day two of trial.

                   Attend court       Attend and partake in day two of trial; Prepare
04/26/2022   JCS                                                                               $375.00   3.5   $1,312.50
                   hearing            expert for day three of trial.
                   Attend court
04/27/2022   JCS                      Attend and partake in day three of trial.                $375.00   2.5    $937.50
                   hearing
                   Attend court
04/28/2022   JCS                      Attend and partake in day four of trial.                 $375.00   2.0    $750.00
                   hearing
                   Attend court
04/29/2022   JCS   hearing            Return travel from trial back to St. Louis.              $375.00   1.0    $375.00

                                      Correspondences with my prior firm, Kamykowski
05/07/2022   JCS   Correspondence     Gavin and Smith, to obtain time and expense              $375.00   0.4    $150.00
                                      reports to include in Plaintiffs' Motion for Fees.
                                         Continue to prepare Plaintiffs' Motion for Attorney
05/08/2022     JCS     Draft Documents   Fees; Discuss declarations, other exhibits, etc., to     $375.00             0.3      $112.50
                                         attach to same.

                                         Continue to prepare Motion for Attorney Fees;
05/09/2022     JCS     Draft Documents                                                            $375.00             0.2       $75.00
                                         Correspondences with team re: same.
                                         Research reasonable attorney rates to apply to
                                         hours in order to continue to prepare Motion for
05/09/2022     JCS     Research                                                                   $375.00             0.3      $112.50
                                         Attorney Fees; Correspondences with team re:
                                         same.
                                         Continue to prepare declaration; Continue to
05/10/2022     JCS     Draft Documents                                                            $375.00             1.0      $375.00
                                         prepare Motion for Attorney's Fees.
                                         Prepare Declaration of Jenifer C. Snow to be filed
                                         with Plaintiffs’ Motion for Attorneys’ Fees; Continue
05/10/2022     JC      Draft filings                                                              $150.00             1.5      $225.00
                                         preparation of exhibits to be filed with Plaintiffs’
                                         Motion for Attorneys’ Fees.
Non-billable Time Entries:
03/16/2021     JCS     Deposition        Appear for and attend deposition of Vevia Sturm          $375.00             0.6      $225.00

04/07/2021     JCS     Correspondence    Attend Defendant Bearden's Deposition.                   $375.00             0.4      $150.00

                                                                                                   Totals:          52.4    $18,825.00
Expenses

Date           EE      Activity          Description                                                 Cost        Quantity    Line Total
                                         Travel to/from Vandalia, MO for trial preparation
04/22/2022     JC      Mileage                                                                     $27.70             1.0       $27.70
                                         with inmate Teri Dean.
                       Reimbursable      Jenifer hotel for trial 4.23.22 - 4.30.22 (split 4
05/04/2022     JC                                                                                 $305.64             1.0      $305.64
                       Expense           ways).
                       Reimbursable
05/04/2022     JC                        Trial Expenses – Travel for trial (split 4 ways).         $21.05             1.0       $21.05
                       Expense

                                                                                                         Expense Total:        $354.39


Notes:                                                                                           Time Entry Sub-Total:      $18,825.00

JC Total: 2.0 hours; $300.00                                                                       Expense Sub-Total:         $354.39
JCS Total: 50.4 hours; $18,525.00                                                                            Sub-Total:     $19,179.39


                                                                                                                 Total:     $19,179.39
                                                                                                       Amount Paid:              $0.00

                                                                                                        Balance Due:        $19,179.39
                           JENIFER C. SNOW’S EXPENSES

     Date                 Description              Category          Amount

April 22, 2022   Travel to/from Vandalia, MO   Mileage         $110.80
                 for trial preparation with    189.4 miles x
                 inmate and me-too witness,    .585 IRS rate
                 Teri Dean.




April 23, 2022   Travel to KC, by train for    Travel          $84.22
                 trial, and by Uber from the
                 train station to hotel.

                 receipts attached

April 23, 2022   Hotel for trial.              Hotel           $1,222.57
through
April 29, 2022   receipt attached

                                                               TOTAL EXPENSES

TOTAL                                                          $1,417.59
Erica

From:                          etickets@amtrak.com
Sent:                          Tuesday, April 19, 2022 11:45 AM
To:                            Jenifer Snow
Subject:                       Amtrak: eTicket and Receipt for Your 04/23/2022 Trip - JENIFER SNOW
Attachments:                   Snow Jenifer 202204191244460511.pdf




         SALES RECEIPT
                                                                                                            To help
                                                                                                            protect y our
                                                                                                            priv acy ,
                                                                                                            Micro so ft
                                                                                                            Office
                                                                                                            prev ented
                                                                                                            auto matic
                                                                                                            download of
                                                                                                            this pictu re
                                                                                                            from the
                                                                                                            In ternet.




         Purchased: 04/19/2022 9:44 AM PTThank you for your purchase.

               1. Retain this receipt for your records.
               2. Print the attached eTicket and carry during your trip.

         Merchant ID 006101 Massachusetts Ave NWWashington, DC 20001800-USA-
         RAILAmtrak.com


         Reservation Number - 12321AWashington, MO to
         Kansas City, MO - Union Station (One-Way) APRIL 19, 2022
         Billing Information

         JENIFER SNOW1720 BLUEJAY CVSAINT LOUIS, MO 63144


         Visa ending in 3216 (Purchase)Authorization Code 006484
                                                                                                       Total $60.00


         Purchase Summary - Ticket Number 1090610592164
         TRAIN 313: Washington, MO to Kansas City, MO - Union Station (One-
         Way)Depart 5:06 PM, Saturday, April 23, 2022
         1 COACH SEAT
                                                                                                      $60.00

         Ticket Terms & Conditions CANCELLATION FEE MAY APPLY.
                                                                                                     Subtotal

                                                                                                     $60.00

                                                                            Total Charged by Amtrak



                                                       1
                                                                                    $60.00



Passengers
 Jenifer Snow

Important Information

      Tickets are non-transferable.
      Changes to your itinerary may affect your fare. Refund and exchange restrictions
       and penalties for failure to cancel unwanted travel may apply. If your travel plans
       change, contact us before departure to change your reservation. If you do not
       board your train, your entire reservation from that point will be canceled. If you
       board a different train without notifying us, you will have to pay for it separately;
       the conductor cannot apply the money paid for your prior reservation. For more
       information please visit Amtrak.com/changes.
      Summary of Terms and Conditions: Ticket valid for carriage or refund (subject to
       the refund rules of the fare purchased) for twelve months after day of issue unless
       otherwise specified. Amtrak tickets may only be sold or issued by Amtrak or an
       authorized travel agent/tour operator. Tickets sold or issued by an unauthorized
       third party will be voided by Amtrak. This ticket is a contract of carriage which
       includes specific terms and conditions and a binding arbitration agreement
       between Amtrak and the ticket holder. The terms and conditions and arbitration
       agreement are available at Amtrak.com/terms-and-conditions.html. Tickets sold
       for non-Amtrak service are subject to the tariffs of the providing carrier.
      Questions? Contact us online at Amtrak.com/contact or call 1-800-USA-RAIL (1-
       800-872-7245) or for text telephone (TTY) 1-800-523-6590.




                                           2
Mlle Jenifer Snow                                                                        Room No.       : 225
MO                                                                                       Arrival        : 04.23.22
                                                                                         Departure      : 04.29.22
                                                                                         Folio No.      :
                                                                                         Conf. No.      : 76213857
Company Name:                                                                            Cashier No. : 814
Group Name:                                                                              Page No.       : 1 of 2



 Date         Description                                                                            Charges         Payments

04.23.22      Room Charge                                                                             269.00
04.23.22      Room Sales Tax                                                                           29.19
04.23.22      Convention and Tourism Tax                                                               20.18
04.23.22      Kansas City Fee                                                                           1.50
04.23.22      Room Sales Tax                                                                            0.16
04.23.22      Convention and Tourism Tax                                                                0.11
04.24.22      Room Charge                                                                             149.00
04.24.22      Room Sales Tax                                                                           16.17
04.24.22      Convention and Tourism Tax                                                               11.18
04.24.22      Kansas City Fee                                                                           1.50
04.24.22      Room Sales Tax                                                                            0.16
04.24.22      Convention and Tourism Tax                                                                0.11
04.25.22      Room Charge                                                                             159.00
04.25.22      Room Sales Tax                                                                           17.25
04.25.22      Convention and Tourism Tax                                                               11.93
04.25.22      Kansas City Fee                                                                           1.50
04.25.22      Room Sales Tax                                                                            0.16
04.25.22      Convention and Tourism Tax                                                                0.11
04.26.22      Room Charge                                                                             149.00
04.26.22      Room Sales Tax                                                                           16.17
04.26.22      Convention and Tourism Tax                                                               11.18
04.26.22      Kansas City Fee                                                                           1.50
04.26.22      Room Sales Tax                                                                            0.16
04.26.22      Convention and Tourism Tax                                                                0.11
04.27.22      Room Charge                                                                             149.00
04.27.22      Room Sales Tax                                                                           16.17
04.27.22      Convention and Tourism Tax                                                               11.18
04.27.22      Kansas City Fee                                                                           1.50
04.27.22      Room Sales Tax                                                                            0.16
04.27.22      Convention and Tourism Tax                                                                0.11
04.28.22      Room Charge                                                                             149.00
04.28.22      Room Sales Tax                                                                           16.17
04.28.22      Convention and Tourism Tax                                                               11.18
04.28.22      Kansas City Fee                                                                           1.50
04.28.22      Room Sales Tax                                                                            0.16
04.28.22      Convention and Tourism Tax                                                                0.11
04.29.22      Visa                                                                                                     1,222.57
              XXXXXXXXXXXX0860 XX/XX


                                                                              Total                  1,222.57          1,222.57
           21c Museum Hotel Kansas City | 219 West 9th Street, Kansas City, MO 64105 | 816.443.4200 Fax 816.443.4201
                                                    21cMuseumHotels.com
Mlle Jenifer Snow                                                                      Room No.       : 225
MO                                                                                     Arrival        : 04.23.22
                                                                                       Departure      : 04.29.22
                                                                                       Folio No.      :
                                                                                       Conf. No.      : 76213857
Company Name:                                                                          Cashier No. : 814
Group Name:                                                                            Page No.       : 2 of 2




                                                                            Balance                                  0.00




         21c Museum Hotel Kansas City | 219 West 9th Street, Kansas City, MO 64105 | 816.443.4200 Fax 816.443.4201
                                                  21cMuseumHotels.com
Erica

From:                            Jenifer Snow <jenifercsnow@gmail.com>
Sent:                            Friday, April 29, 2022 9:10 AM
To:                              Jenifer Snow
Subject:                         Fwd: Your Saturday evening trip with Uber




---------- Forwarded message ---------
From: Uber Receipts <noreply@uber.com>
Date: Sun, Apr 24, 2022 at 9:54 AM
Subject: Your Saturday evening trip with Uber
To: <jenifercsnow@gmail.com>




                                                                                Total $24.22
                                                                               April 23, 2022




               Thanks for riding, Jenifer
               We hope you enjoyed your ride
               this evening.




               Total                                                         $24.22

               Trip fare                                                           $21.52



                                                          1
           Subtotal                                                               $21.52

           Wait Time                                                               $0.29

           Booking Fee                                                             $1.86

           Temporary Fuel Surcharge                                                $0.55




           Payments

                       Visa ••••3216                                              $24.22
                       4/24/22 9:54 AM


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4.95     Rating

       Has passed a multi-step safety screen


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 Rate or tip




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           accident.
           Learn more ❯




       UberX      1.93 miles | 5 min


                                                2
